     Case 22-2101, Document 895, 06/09/2023, 3527644, Page1 of 95




    22-2101-
    bk L ,
      ( )
                              22-2104-bk(CON),
                              22-2107-bk(CON),
                             22-2108-bk(CON),
22-2109-bk(CON), 22-2111-bk(CON), 22-2112-bk(CON),
22-2113-bk(CON), 22-2114-bk(CON), 22-2115-bk(CON),
22-2116-bk(CON), 22-2117-bk(CON), 22-2119-bk(CON),
                 22-2120-bk(CON),
             (For Continuation of Docket Numbers See Inside Cover)

         United States Court of Appeals
                                  for the

                        Second Circuit
                     In Re: Fairfield Sentry Limited
                  _______________________________
       ON APPEAL FROM THE UNITED STATES DISTRICT COURT
            FOR THE SOUTHERN DISTRICT OF NEW YORK

             REPLY BRIEF FOR APPELLANTS

     DAVID J. MOLTON                PAUL D. CLEMENT
     MAREK P. KRZYZOWSKI            MATTHEW D. ROWEN
     BROWN RUDNICK LLP              CLEMENT & MURPHY, PLLC
     Seven Times Square             706 Duke Street
     New York, New York 10036       Alexandria, Virginia 22314
     (212) 209-4800                 (202) 742-8900
                        Attorneys for Appellants
     Case 22-2101, Document 895, 06/09/2023, 3527644, Page2 of 95




22-2121-bk(CON), 22-2122-bk(CON), 22-2123-bk(CON),
22-2125-bk(CON), 22-2126-bk(CON), 22-2127-bk(CON),
22-2128-bk(CON), 22-2129-bk(CON), 22-2130-bk(CON),
22-2131-bk(CON), 22-2132-bk(CON), 22-2133-bk(CON),
22-2134-bk(CON), 22-2135-bk(CON), 22-2136-bk(CON),
22-2137-bk(CON), 22-2138-bk(CON), 22-2139-bk(CON),
22-2140-bk(CON), 22-2141-bk(CON), 22-2142-bk(CON),
22-2143-bk(CON), 22-2144-bk(CON), 22-2145-bk(CON),
22-2146-bk(CON), 22-2147-bk(CON), 22-2148-bk(CON),
22-2149-bk(CON), 22-2150-bk(CON), 22-2151-bk(CON),
22-2152-bk(CON), 22-2153-bk(CON), 22-2156-bk(CON),
22-2157-bk(CON), 22-2158-bk(CON), 22-2159-bk(CON),
22-2161-bk(CON), 22-2162-bk(CON), 22-2163-bk(CON),
22-2164-bk(CON), 22-2165-bk(CON), 22-2166-bk(CON),
22-2167-bk(CON), 22-2168-bk(CON), 22-2169-bk(CON),
22-2170-bk(CON), 22-2171-bk(CON), 22-2172-bk(CON),
22-2173-bk(CON), 22-2174-bk(CON), 22-2175-bk(CON),
22-2176-bk(CON), 22-2177-bk(CON), 22-2179-bk(CON),
22-2180-bk(CON), 22-2181-bk(CON), 22-2183-bk(CON),
22-2185-bk(CON), 22-2186-bk(CON), 22-2188-bk(CON),
22-2189-bk(CON), 22-2190-bk(CON), 22-2192-bk(CON),
22-2193-bk(CON), 22-2194-bk(CON), 22-2195-bk(CON),
     Case 22-2101, Document 895, 06/09/2023, 3527644, Page3 of 95




22-2196-bk(CON), 22-2197-bk(CON), 22-2199-bk(CON),
22-2200-bk(CON), 22-2201-bk(CON), 22-2202-bk(CON),
22-2203-bk(CON), 22-2204-bk(CON), 22-2205-bk(CON),
22-2207-bk(CON), 22-2208-bk(CON), 22-2209-bk(CON),
22-2210-bk(CON), 22-2211-bk(CON), 22-2212-bk(CON),
22-2213-bk(CON), 22-2214-bk(CON), 22-2215-bk(CON),
22-2216-bk(CON), 22-2218-bk(CON), 22-2219-bk(CON),
22-2221-bk(CON), 22-2222-bk(CON), 22-2223-bk(CON),
22-2227-bk(CON), 22-2228-bk(CON), 22-2229-bk(CON),
22-2230-bk(CON), 22-2233-bk(CON), 22-2234-bk(CON),
22-2235-bk(CON), 22-2236-bk(CON), 22-2237-bk(CON),
22-2238-bk(CON), 22-2239-bk(CON), 22-2240-bk(CON),
22-2241-bk(CON), 22-2242-bk(CON), 22-2243-bk(CON),
22-2244-bk(CON), 22-2245-bk(CON), 22-2246-bk(CON),
22-2247-bk(CON), 22-2248-bk(CON), 22-2249-bk(CON),
22-2250-bk(CON), 22-2251-bk(CON), 22-2252-bk(CON),
22-2253-bk(CON), 22-2254-bk(CON), 22-2255-bk(CON),
22-2256-bk(CON), 22-2257-bk(CON), 22-2258-bk(CON),
22-2259-bk(CON), 22-2260-bk(CON), 22-2261-bk(CON),
22-2262-bk(CON), 22-2263-bk(CON), 22-2264-bk(CON),
22-2265-bk(CON), 22-2266-bk(CON), 22-2267-bk(CON),
22-2268-bk(CON), 22-2269-bk(CON), 22-2270-bk(CON),
22-2271-bk(CON), 22-2272-bk(CON), 22-2273-bk(CON),
     Case 22-2101, Document 895, 06/09/2023, 3527644, Page4 of 95




22-2275-bk(CON), 22-2276-bk(CON), 22-2277-bk(CON),
22-2278-bk(CON), 22-2279-bk(CON), 22-2280-bk(CON),
22-2281-bk(CON), 22-2284-bk(CON), 22-2285-bk(CON),
22-2286-bk(CON), 22-2287-bk(CON), 22-2288-bk(CON),
22-2289-bk(CON), 22-2290-bk(CON), 22-2291-bk(CON),
22-2292-bk(CON), 22-2293-bk(CON), 22-2294-bk(CON),
22-2299-bk(CON), 22-2300-bk(CON), 22-2302-bk(CON),
22-2303-bk(CON), 22-2304-bk(CON), 22-2305-bk(CON),
22-2306-bk(CON), 22-2308-bk(CON), 22-2309-bk(CON),
22-2311-bk(CON), 22-2314-bk(CON), 22-2333-bk(CON),
22-2334-bk(CON), 22-2336-bk(CON), 22-2338-bk(CON),
22-2339-bk(CON), 22-2340-bk(CON), 22-2341-bk(CON),
22-2342-bk(CON), 22-2343-bk(CON), 22-2344-bk(CON),
22-2345-bk(CON), 22-2346-bk(CON), 22-2347-bk(CON),
22-2348-bk(CON), 22-2349-bk(CON), 22-2350-bk(CON),
22-2351-bk(CON), 22-2352-bk(CON), 22-2353-bk(CON),
22-2354-bk(CON), 22-2355-bk(CON), 22-2356-bk(CON),
22-2357-bk(CON), 22-2358-bk(CON), 22-2359-bk(CON),
22-2360-bk(CON), 22-2361-bk(CON), 22-2362-bk(CON),
22-2363-bk(CON), 22-2364-bk(CON), 22-2365-bk(CON),
22-2366-bk(CON), 22-2367-bk(CON), 22-2368-bk(CON),
22-2369-bk(CON), 22-2370-bk(CON), 22-2371-bk(CON),
22-2372-bk(CON), 22-2373-bk(CON), 22-2374-bk(CON),
     Case 22-2101, Document 895, 06/09/2023, 3527644, Page5 of 95




22-2375-bk(CON), 22-2376-bk(CON), 22-2380-bk(CON),
22-2381-bk(CON), 22-2382-bk(CON), 22-2383-bk(CON),
22-2384-bk(CON), 22-2385-bk(CON), 22-2386-bk(CON),
22-2387-bk(CON), 22-2388-bk(CON), 22-2389-bk(CON),
22-2390-bk(CON), 22-2391-bk(CON), 22-2392-bk(CON),
22-2393-bk(CON), 22-2394-bk(CON), 22-2395-bk(CON),
22-2396-bk(CON), 22-2398-bk(CON), 22-2399-bk(CON),
22-2401-bk(CON), 22-2404-bk(CON), 22-2405-bk(CON),
22-2407-bk(CON), 22-2408-bk(CON), 22-2409-bk(CON),
22-2410-bk(CON), 22-2411-bk(CON), 22-2412-bk(CON),
22-2413-bk(CON), 22-2414-bk(CON), 22-2415-bk(CON),
22-2416-bk(CON), 22-2417-bk(CON), 22-2418-bk(CON),
22-2419-bk(CON), 22-2420-bk(CON), 22-2421-bk(CON),
22-2422-bk(CON), 22-2423-bk(CON), 22-2424-bk(CON),
22-2425-bk(CON), 22-2426-bk(CON), 22-2427-bk(CON),
22-2428-bk(CON), 22-2429-bk(CON), 22-2431-bk(CON),
22-2432-bk(CON), 22-2433-bk(CON), 22-2434-bk(CON),
22-2435-bk(CON), 22-2436-bk(CON), 22-2437-bk(CON),
22-2440-bk(CON), 22-2441-bk(CON), 22-2442-bk(CON),
22-2443-bk(CON), 22-2444-bk(CON), 22-2445-bk(CON),
22-2446-bk(CON), 22-2448-bk(CON), 22-2450-bk(CON),
22-2451-bk(CON), 22-2453-bk(CON), 22-2455-bk(CON),
22-2456-bk(CON), 22-2457-bk(CON), 22-2458-bk(CON),
     Case 22-2101, Document 895, 06/09/2023, 3527644, Page6 of 95




22-2459-bk(CON), 22-2460-bk(CON), 22-2461-bk(CON),
22-2462-bk(CON), 22-2463-bk(CON), 22-2466-bk(CON),
22-2467-bk(CON), 22-2468-bk(CON), 22-2470-bk(CON),
22-2472-bk(CON), 22-2473-bk(CON), 22-2474-bk(CON),
22-2475-bk(CON), 22-2477-bk(CON), 22-2478-bk(CON),
22-2479-bk(CON), 22-2481-bk(CON), 22-2482-bk(CON),
22-2483-bk(CON), 22-2484-bk(CON), 22-2485-bk(CON),
22-2486-bk(CON), 22-2488-bk(CON), 22-2489-bk(CON),
22-2491-bk(CON), 22-2492-bk(CON), 22-2493-bk(CON),
22-2494-bk(CON), 22-2495-bk(CON), 22-2496-bk(CON),
22-2497-bk(CON), 22-2498-bk(CON), 22-2499-bk(CON),
22-2500-bk(CON), 22-2501-bk(CON), 22-2502-bk(CON),
22-2503-bk(CON), 22-2504-bk(CON), 22-2506-bk(CON),
22-2507-bk(CON), 22-2508-bk(CON), 22-2509-bk(CON),
22-2510-bk(CON), 22-2511-bk(CON), 22-2512-bk(CON),
22-2513-bk(CON), 22-2514-bk(CON), 22-2515-bk(CON),
22-2516-bk(CON), 22-2517-bk(CON), 22-2518-bk(CON),
22-2520-bk(CON), 22-2521-bk(CON), 22-2522-bk(CON),
22-2523-bk(CON), 22-2524-bk(CON), 22-2525-bk(CON),
22-2526-bk(CON), 22-2528-bk(CON), 22-2529-bk(CON),
22-2532-bk(CON), 22-2534-bk(CON), 22-2535-bk(CON),
22-2536-bk(CON), 22-2538-bk(CON), 22-2539-bk(CON),
22-2540-bk(CON), 22-2541-bk(CON), 22-2545-bk(CON),
     Case 22-2101, Document 895, 06/09/2023, 3527644, Page7 of 95




22-2548-bk(CON), 22-2549-bk(CON, 22-2551-bk(CON),
22-2552-bk(CON), 22-2553-bk(CON), 22-2554-bk(CON),
22-2555-bk(CON), 22-2556-bk(CON), 22-2557-bk(CON),
22-2558-bk(CON), 22-2559-bk(CON), 22-2560-bk(CON),
22-2562-bk(CON), 22-2565-bk(CON), 22-2566-bk(CON),
22-2567-bk(CON), 22-2568-bk(CON), 22-2570-bk(CON),
22-2571-bk(CON), 22-2572-bk(CON), 22-2573-bk(CON),
22-2574-bk(CON), 22-2575-bk(CON), 22-2576-bk(CON),
22-2577-bk(CON), 22-2579-bk(CON), 22-2580-bk(CON),
22-2581-bk(CON), 22-2582-bk(CON), 22-2583-bk(CON),
22-2585-bk(CON), 22-2586-bk(CON), 22-2587-bk(CON),
22-2589-bk(CON), 22-2590-bk(CON), 22-2591-bk(CON),
22-2592-bk(CON), 22-2593-bk(CON), 22-2594-bk(CON),
22-2595-bk(CON), 22-2596-bk(CON), 22-2597-bk(CON),
22-2598-bk(CON), 22-2602-bk(CON), 22-2603-bk(CON),
22-2604-bk(CON), 22-2606-bk(CON), 22-2607-bk(CON),
22-2608-bk(CON), 22-2611-bk(CON), 22-2612-bk(CON),
22-2613-bk(CON), 22-2614-bk(CON), 22-2615-bk(CON),
22-2617-bk(CON), 22-2618-bk(CON), 22-2619-bk(CON),
22-2622-bk(CON), 22-2626-bk(CON), 22-2631-bk(CON),
22-2641-bk(CON), 22-2642-bk(CON), 22-2643-bk(CON),
22-2644-bk(CON), 22-2645-bk(CON), 22-2654-bk(CON)
 23-687-bk(CON), 23-695-bk(CON), 23-697-bk(CON),
 23-715-bk (CON)
              Case 22-2101, Document 895, 06/09/2023, 3527644, Page8 of 95




                                  TABLE OF CONTENTS


INTRODUCTION AND SUMMARY OF ARGUMENT ........................... 1

ARGUMENT ............................................................................................. 5

       I.       The Forum Selection Clause Creates Personal
                Jurisdiction Over Defendants In New York Courts ............... 5

       II.      The Bankruptcy Code Safe Harbor Does Not Apply
                Extraterritorially To Bar The Liquidators’ Foreign
                Avoidance Claims .................................................................. 15

                A.      The Bankruptcy Code Does Not Preclude a
                        Foreign Representative From Avoiding Foreign
                        Transfers Under Foreign Law, Let Alone
                        Overcome the Presumption Against Applying the
                        Domestic Safe Harbor Extraterritorially .................... 15

                B.      Applying the Section 546(e) Safe Harbor to
                        Foreign Avoidance Claims Is Not a Domestic
                        Application ................................................................... 25

                C.      Even If §561(d) Reached Foreign Transfers, the
                        Liquidators’ Avoidance Claims Would Fall Within
                        the Exception for Intentional Fraudulent
                        Transfers ...................................................................... 33

       III.     The District Court Erred In Affirming The Dismissal
                Of The Liquidators’ BVI Common Law And Contract
                Claims.................................................................................... 41

                A.      The Bankruptcy Code Safe Harbor Does Not Bar
                        the Liquidators’ BVI Common Law Claims ................ 42

                B.      Neither the Funds’ Articles nor BVI Law Bars the
                        Liquidators’ BVI Common Law Claims ....................... 45
             Case 22-2101, Document 895, 06/09/2023, 3527644, Page9 of 95




       IV.     The Bankruptcy Court Erred In Ruling That The
               Liquidators Failed To State A Claim Under §246 Of
               The BVI Insolvency Act ........................................................ 61

       V.      The Liquidators’ Claims Are Not Precluded By The
               Prior BVI Proceedings........................................................... 65

               A.      BVI Law Governs the Preclusion Issue Here .............. 65

               B.      Under BVI Law, There Is No Preclusion Here............ 67

               C.      Even Under Federal Law, There Would Be No
                       Preclusion ..................................................................... 71

       VI.     DB Cayman Cannot Evade Liability By Claiming That
               It Was Acting As A Disclosed Agent ..................................... 73

CONCLUSION ........................................................................................ 78




                                                   ii
           Case 22-2101, Document 895, 06/09/2023, 3527644, Page10 of 95




                             TABLE OF AUTHORITIES

Cases

ACE Cap. Re Overseas Ltd. v. Cent. United Life Ins. Co.,
  307 F.3d 24 (2d Cir. 2002) ........................................................ 6, 10, 11

Al-Kurdi v. United States,
   25 Cl. Ct. 599 (Cl. Ct. 1992) ................................................................ 44

Am. Bureau of Shipping v. Tencara Shipyard S.P.A.,
  170 F.3d 349 (2d Cir. 1999) ................................................................ 76

Anwar v. Fairfield Greenwich, Ltd.,
  728 F.Supp.2d 372 (S.D.N.Y. 2010) .................................................... 70

AP Servs., LLP v. Silva,
  483 B.R. 63 (S.D.N.Y. 2012) ............................................................... 44

Blazevska v. Raytheon Aircraft Co.,
  522 F.3d 948 (9th Cir. 2008) ............................................................... 33

Carlyle Inv. Mgmt. LLC v. Moonmouth Co. SA,
  779 F.3d 214 (3d Cir. 2015) ...................................................... 7, 11, 12

Chase Manhattan Bank, N.A. v. Celotex Corp.,
  56 F.3d 343 (2d Cir. 1995) .................................................................. 71

Cho v. Blackberry Ltd.,
  991 F.3d 155 (2d Cir. 2021) .......................................................... 71, 72

City of New York v. Chevron Corp.,
   993 F.3d 81 (2d Cir. 2021) .................................................................. 16

Cooper v. Ruane Cunniff & Goldfarb Inc.,
  990 F.3d 173 (2d Cir. 2021) .............................................................. 8, 9

Coregis Ins. Co. v. Am. Health Found., Inc.,
  241 F.3d 123 (2d Cir. 2001) ........................................................ passim

Cortlandt St. Recovery Corp. v. Bonderman,
  155 N.Y.S.3d 61 (N.Y. Sup. Ct. 2021) ................................................... 7


                                                iii
            Case 22-2101, Document 895, 06/09/2023, 3527644, Page11 of 95




Doe v. Trump Corp.,
  6 F.4th 400 (2d Cir. 2021) ................................................................... 71

Enron Creditors Recovery Corp v. Alfa, S.A.B. de C.V.,
  651 F.3d 329 (2d Cir. 2011) ................................................................ 27

Fairfield Sentry Ltd. v. UBS AG N.Y.,
  No. 23-517 (2d Cir.) ............................................................................. 43

Force v. Facebook,
  934 F.3d 53 (2d Cir. 2019) ............................................................ 31, 32

Hansard v. Fed. Ins. Co.,
  46 N.Y.S.3d 163 (N.Y. Sup. Ct. 2017) ................................................... 7

HMS Holdings Corp. v. Moiseenko,
 29 N.Y.S.3d 847 (N.Y. Sup. Ct. 2015) ................................................... 7

Huffington v. T.C. Grp., LLC,
  637 F.3d 18 (1st Cir. 2011) ....................................................... 7, 11, 12

In re Bernard L. Madoff Inv. Sec. LLC,
   721 F.3d 54 (2d Cir. 2013) .................................................................. 58

In re Condor Ins. Ltd.,
   601 F.3d 319 (5th Cir. 2010) ......................................................... 37, 45

In re Coudert Bros. LLP,
   673 F.3d 180 (2d Cir. 2012) .......................................................... 65, 66

In re Fairfield Sentry Ltd. Litig.,
   458 B.R. 665 (S.D.N.Y. 2011) ....................................................... 20, 45

In re Fairfield Sentry Ltd.,
   2020 WL 7345988 (Bankr. S.D.N.Y. Dec. 14, 2020)..................... 43, 44

In re Fairfield Sentry Ltd.,
   2021 WL 771677 (Bankr. S.D.N.Y. Feb. 23, 2021)............................. 44

In re Fairfield Sentry Ltd.,
   596 B.R. 275 (Bankr. S.D.N.Y. 2018) ......................................... passim



                                                  iv
           Case 22-2101, Document 895, 06/09/2023, 3527644, Page12 of 95




In re Gaston & Snow,
   243 F.3d 599 (2d Cir. 2001) ................................................................ 66

In re M. Fabrikant & Sons, Inc.,
   447 B.R. 170 (Bankr. S.D.N.Y. 2011) ................................................. 73

In re Nine W. LBO Sec. Litig.,
   482 F.Supp.3d 187 (S.D.N.Y. 2020) .................................................... 44

In re Norske Skogindustrier ASA,
   629 B.R. 717 (Bankr. S.D.N.Y. 2021) ................................................. 35

In re Picard,
   917 F.3d 85 (2d Cir. 2019) ................................................ 26, 27, 28, 30

In re Tribune Co. Fraudulent Conveyance Litig.,
   946 F.3d 66 (2d Cir. 2019) .................................................................. 44

In re Tribune Co. Fraudulent Conveyance Litig.,
   499 B.R. 310 (S.D.N.Y. 2013) ............................................................. 27

Kim v. Co-op. Centrale Raiffeisen-Boerenleebank B.A.,
  364 F.Supp.2d 346 (S.D.N.Y. 2005) .................................................... 66

Kiobel v. Royal Dutch Petroleum Co.,
  569 U.S. 108 (2013) ............................................................................. 31

Kirschner v. KPMG LLP,
  938 N.E.2d 941 (N.Y. 2010) ................................................................ 58

Lerner v. Amalgamated Clothing and Textile Workers Union,
  938 F.2d 2 (2d Cir. 1991) .................................................................... 76

Liberty Synergistics Inc. v. Microflo Ltd.,
   718 F.3d 138 (2d Cir. 2013) ................................................................ 74

Loginovskaya v. Batratchenko,
  764 F.3d 266 (2d Cir. 2014) ................................................................ 33

Louis Dreyfus Negoce S.A. v. Blystad Shipping & Trading Inc.,
  252 F.3d 218 (2d Cir. 2001) ................................................................ 11



                                                  v
            Case 22-2101, Document 895, 06/09/2023, 3527644, Page13 of 95




Martinez v. Bloomberg LP,
  740 F.3d 211 (2d Cir. 2014) ................................................................ 13

Merit Mgmt. Grp., LP v. FTI Consulting, Inc.,
  138 S.Ct. 883 (2018) ................................................................ 25, 26, 31

Morrison v. Nat’l Australia Bank Ltd.,
  561 U.S. 247 (2010) ........................................................... 18, 19, 23, 28

Necchi S.p.A. v. Necchi Sewing Mach. Sales Corp.,
  348 F.2d 693 (2d Cir. 1965) .............................................................. 8, 9

Phillips v. Audio Active Ltd.,
  494 F.3d 378 (2d Cir. 2007) ................................................................ 14

Rimini St., Inc. v. Oracle USA, Inc.,
  139 S.Ct. 873 (2019) ............................................................................ 21

RJR Nabisco, Inc. v. Euro. Cmty.,
  579 U.S. 325 (2016) ..................................................................... passim

Shekoyan v. Sibley Int’l,
  409 F.3d 414 (D.C. Cir. 2005) ............................................................. 16

United States v. Quinones,
  317 F.3d 86 (2d Cir. 2003) .................................................................. 67

WesternGeco LLC v. ION Geophysical Corp.,
  138. S.Ct. 2129 (2018) ................................................................... 26, 30

Statutes

11 U.S.C. §546 ................................................................................... 34, 42

11 U.S.C. §548 ......................................................................................... 34

11 U.S.C. §561 ....................................................................... 17, 20, 23, 35

11 U.S.C. §1501 ........................................................................... 24, 27, 38

11 U.S.C. §1504 ....................................................................................... 20

11 U.S.C. §1508 ....................................................................................... 24

                                                    vi
            Case 22-2101, Document 895, 06/09/2023, 3527644, Page14 of 95




11 U.S.C. §1511 ....................................................................................... 20

11 U.S.C. §1523 ....................................................................................... 20

BVI Companies Act ................................................................................. 55

BVI Insolvency Act ............................................................................ 39, 61

Other Authorities

Brett M. Kavanaugh, Fixing Statutory Interpretation,
  129 Harv. L. Rev. 2118 (2016) ............................................................ 21

DD Growth Premium 2X Fund v. RMF Mkt. Neutral
  Strategies (Master) Ltd., [2017] UKPC 36.......................................... 50

Fairfield Sentry Ltd. (in Liquidation) v. Migani, [2014] UKPC 9 ......... 46

Graham Virgo, Good Consideration Provided by the Defendant,
  The Principles of the Law of Restitution (3d ed. 2015)...................... 52

Joiner v. George, [2003] BCC 298 ........................................................... 63

Lincoln Caylor & Martin S. Kenney, In Pari Delicto and
  Ex Turpi Causa, 18 BUS. L. INT’L 259 (2017) ..................................... 58

Montgomerie v UK Mutual Steamship Ass’n, [1891] 1 QB 370 .............. 74

OJSC Oil Co. Yugraneft v. Abramovich, [2008] EWHC 2613 ................ 68

Opposition, Fairfield Sentry Ltd. v. UBS AG N.Y.,
  No. 23-517 (2d Cir. Apr. 17, 2023) ...................................................... 43

Patel v. Mirza, [2016] UKSC 42 .............................................................. 58

Phillips v. Brewin Dolphin Bell Lawrie, [2001] BCC 864 (HL)........ 63, 64

Reply, Fairfield Sentry Ltd. v. Citibank NA London,
  No. 19-cv-03911 (S.D.N.Y. Apr. 23, 2020), Dkt.361 ........................... 52

Skandinaviska Enskilda Banken AB (Publ) v. Conway
  (as Joint Official Liquidators of Weavering Macro
  Fixed Income Fund Ltd.), [2019] UKPC 36 ........................................ 42


                                                   vii
           Case 22-2101, Document 895, 06/09/2023, 3527644, Page15 of 95




Merriam-Webster Dictionary, https://archive.ph/wip/1S34U
  (last visited June 9, 2023)................................................................... 54

Virgin Atl. Airways Ltd v. Zodiac Seats UK Ltd.,
   [2013] UKSC 46 ............................................................................ 69, 70




                                                viii
        Case 22-2101, Document 895, 06/09/2023, 3527644, Page16 of 95




       INTRODUCTION AND SUMMARY OF ARGUMENT

     Chapter 15 of the Bankruptcy Code exists to enable foreign

bankruptcy representatives like the Liquidators to obtain assistance

from U.S. courts in cross-border bankruptcies.           In this case, the

Liquidators sought that assistance to recover over $6 billion in

fraudulently inflated payments and equitably redistribute them to the

innocent victims of Bernie Madoff’s infamous Ponzi scheme.              The

decisions below, however, make it all but impossible for the Liquidators

to recover those payments—and do so by flouting the established

presumption against extraterritoriality and by misapplying both federal

and British Virgin Islands (“BVI”) law. None of Defendants’ attempts to

defend those decisions is remotely persuasive.

     First and foremost, the district court fundamentally misconstrued

the Bankruptcy Code by applying a limitation on domestic avoidance

powers to curtail the Liquidators’ claims under foreign law seeking to

avoid foreign transactions.    That ruling cannot be squared with the

relevant statutory text, the presumption against extraterritoriality, or

the broader purpose of Chapter 15. The text itself precludes Defendants’

reading: §546(e) applies only to domestic avoidance claims that could



                                     1
         Case 22-2101, Document 895, 06/09/2023, 3527644, Page17 of 95




harm domestic markets, and §561(d) limits the avoidance powers of a

foreign liquidator in Chapter 15 cases “to the same extent” as in Chapter

7 and Chapter 11 cases, i.e., it precludes avoiding certain domestic

transfers that could harm domestic markets. To the extent foreign law

gives a foreign liquidator powers to target foreign transfers, nothing in

§561(d), §546(e), or anything else in the Code stands as an obstacle. The

history and expressed purpose of Chapter 15 confirm that understanding,

as the point of Chapter 15 is to facilitate foreign liquidations, not to erect

artificial barriers to exercising avoidance powers that do not directly

affect domestic transfers or domestic markets. At a bare minimum,

nothing in the statutory text so clearly and unambiguously requires the

extraterritorial application of §546(e) to frustrate the efforts of foreign

liquidators and the overriding purpose of Chapter 15.

      Defendants      cannot      evade      the    presumption          against

extraterritoriality by calling this case a “domestic” application of §546(e)

and §561(d). Defendants’ assertion that the application is domestic just

because the proceeding below was in a U.S. court would nullify the

presumption against extraterritoriality completely, and contravenes

binding precedent from both the Supreme Court and this Court making



                                      2
         Case 22-2101, Document 895, 06/09/2023, 3527644, Page18 of 95




clear that the focus of these very statutes is on the transaction being

avoided, not the court in which the claim is brought. Applying the Code

to limit the efforts of foreign liquidators to use foreign law to avoid foreign

transfers is an extraterritorial application by any measure.

      And even if §561(d) extended limits on a domestic trustee targeting

domestic transfers to foreign liquidators targeting foreign transfers, the

Liquidators’ claims would still survive because they involve claims of

intentional fraud. A domestic trustee’s avoidance powers reach domestic

securities-related transfers if they involve intentional fraud, and §561(d)

limits a foreign liquidator’s avoidance powers “to the same extent” as a

domestic trustee’s. Whether a foreign liquidator comes within the terms

of the specific statutory provision empowering a domestic trustee to avoid

such intentionally fraudulent transfers is beside the point, as the foreign

liquidator’s avoidance power comes from foreign law and is limited only

“to the extent” necessary to align it with the powers of a domestic trustee,

which plainly include the authority to avoid intentionally fraudulent

transfers.

      Defendants’ remaining arguments are equally unavailing.             The

plain language of the parties’ forum selection clause and governing law



                                      3
          Case 22-2101, Document 895, 06/09/2023, 3527644, Page19 of 95




make clear that Defendants are subject to personal jurisdiction here,

which explains why Defendants leave their response on this threshold

issue for last. Neither the Code nor BVI law bars the Liquidators’

contract and common law claims, nor do Defendants’ meritless preclusion

arguments (all of which were either forfeited or properly rejected below)

assist their efforts to minimize the recoveries of victims of Madoff’s fraud.

Defendants’ assertion that their redemptions were not “undervalue”

likewise defies BVI law (and common sense), as it is hard to imagine

anything more “undervalue” than the worthless shares Defendants

exchanged for $6 billion. One need only compare those full pay-outs,

including phantom “profits” taken from their fellow investors’ principal,

with the plight of victims hoping to recover pennies on the dollar to

understand the undervaluation and unfairness here.

     Defendants would leave foreign liquidators with less power than

domestic trustees, less power than they enjoy under the law of their home

countries, and no power to avoid even intentionally fraudulent securities-

related transfers. None of that can be reconciled with the purpose of

Chapter     15,   principles    of   comity,    the    presumption        against

extraterritoriality, or common sense. The foreign liquidators here seek



                                       4
        Case 22-2101, Document 895, 06/09/2023, 3527644, Page20 of 95




no more or less than the SIPC trustee has already obtained—namely, a

measure of justice for innocent victims of Madoff’s fraud.       Defendants’

attempts to stymie those efforts at every turn should be squarely rejected.

                              ARGUMENT

I.   The Forum Selection Clause Creates Personal Jurisdiction
     Over Defendants In New York Courts.

     The Subscription Agreements are unequivocal: “[A]ny suit, action

or proceeding (‘Proceeding’) with respect to this Agreement and the Fund

may be brought in New York,” and the Defendants executing those

agreements “irrevocably submit[ted] to the jurisdiction of the New York

courts with respect to any proceeding.” Compl. ¶23. That language

plainly establishes personal jurisdiction in New York for the Liquidators’

claims here, and the lower courts plainly erred by concluding otherwise—

an error that would force the Liquidators to litigate defendant- and fact-

specific personal jurisdiction questions as to dozens (and potentially

hundreds) of Defendants more than twelve years into this protracted

litigation. Pls.Br.43-51.

     Defendants have only one response, which they tellingly bury at the

back of their brief: According to Defendants, the Liquidators’ claims are

not “with respect to” the Subscription Agreements, because those claims


                                     5
          Case 22-2101, Document 895, 06/09/2023, 3527644, Page21 of 95




arise under the Articles rather than directly under the Subscription

Agreements themselves.         Defs.Br.74-88.    That argument cannot be

squared with the plain language of the Agreements or controlling law.

As this Court has recognized, the phrase “with respect to” is “expansive,”

and does not impose a narrow arising-under test. ACE Cap. Re Overseas

Ltd. v. Cent. United Life Ins. Co., 307 F.3d 24, 30, 32 (2d Cir. 2002).

Instead, that phrase requires only that the claims and the Subscription

Agreements be “related to,” “associated with,” or “connected by reason of

an established or discoverable relation” to one another—a standard that

is plainly met here, given that the Subscription Agreements created the

legal relationship between the Funds and Defendants and bound the

Defendants to the Articles in the first place. Coregis Ins. Co. v. Am.

Health Found., Inc., 241 F.3d 123, 128 (2d Cir. 2001); see Pls.Br.45-47.

None of Defendants’ counterarguments is remotely persuasive.

     1.     Defendants begin with a straw man, asserting that the

Liquidators define the phrase “with respect to” by “a ‘but-for’ test.”

Defs.Br.76. They then spend the next six pages attacking that test.

Defs.Br.77-82.     That attack misses the mark entirely, because the

Liquidators do not rely on a “but-for” test—which is why the phrase “but-



                                       6
        Case 22-2101, Document 895, 06/09/2023, 3527644, Page22 of 95




for” appears nowhere in their brief. Instead, the Liquidators define “with

respect to” precisely as this Court, the New York courts, and others define

it: as “synonymous with” phrases such as “in connection with,” “related

to,” and “associated with,” and so requiring simply “an established or

discoverable relation.” Coregis, 241 F.3d at 128-29; see, e.g., Cortlandt

St. Recovery Corp. v. Bonderman, 155 N.Y.S.3d 61 (N.Y. Sup. Ct. 2021),

aff’d in relevant part, 2023 WL 2875490 (N.Y. App. Div. Apr. 11, 2023);

Hansard v. Fed. Ins. Co., 46 N.Y.S.3d 163, 167 (N.Y. Sup. Ct. 2017); HMS

Holdings Corp. v. Moiseenko, 29 N.Y.S.3d 847 (N.Y. Sup. Ct. 2015); see

also, e.g., Carlyle Inv. Mgmt. LLC v. Moonmouth Co. SA, 779 F.3d 214,

220 (3d Cir. 2015); Huffington v. T.C. Grp., LLC, 637 F.3d 18, 21-22 (1st

Cir. 2011).

     That standard is amply met here, where the Agreements created

the legal relationship between the Funds and Defendants and where the

claims at issue seek to recover proceeds from the redemption of shares

issued pursuant to the Agreements. Pls.Br.46-47. Indeed, Defendants

concede that the Agreements are what “binds [each Defendant] to [its]

subscription and to the terms of the Fund Documents,” including the

Articles, Defs.Br.83, and one Defendant’s supplemental brief underscores



                                     7
         Case 22-2101, Document 895, 06/09/2023, 3527644, Page23 of 95




the point, see Deutsche Bank (Cayman) Ltd. Supp. Br. (“DBC.Br.”) at 3,

7 (stating that the Subscription Agreements “control the relationship”

between the Funds and Defendants and “[t]he Articles do not”). That

makes it difficult to understand Defendants’ insistence that the

Agreements are somehow a “separate contract” from the Articles, see,

e.g., Defs.Br.75, 78, 85, particularly when the former explicitly

incorporated the latter, see JA.2189 (“Subscriber subscribes for the

Shares pursuant to… [the] Articles of Association”). In any event, there

is nothing “attenuated” about the connection between the Agreements

and the Liquidators’ claims here, and nothing “limitless” about applying

the plain language of the parties’ agreed-upon forum selection clause to

recognize personal jurisdiction. Contra Defs.Br.77.

     Defendants argue that this Court has “twice rejected a ‘but-for’

approach,” Defs.Br.77—but again, the Liquidators are not asserting any

but-for standard. Regardless, the cases that Defendants cite do not help

them. Contra Defs.Br.77 (citing Necchi S.p.A. v. Necchi Sewing Mach.

Sales Corp., 348 F.2d 693 (2d Cir. 1965), and Cooper v. Ruane Cunniff &

Goldfarb Inc., 990 F.3d 173 (2d Cir. 2021)). In Necchi, the parties agreed

to arbitrate all disputes “arising out of or in connection with” an exclusive



                                      8
        Case 22-2101, Document 895, 06/09/2023, 3527644, Page24 of 95




distributorship agreement. 348 F.2d at 695. This Court found it “clear”

that two of the parties’ disputes were arbitrable, because they arose from

provisions in the agreement. Id. at 697 & n.2. By contrast, the other

disputes had “nothing to do with” the distributorship agreement, which

was obvious as a matter of pure chronology, and so were not covered by

the arbitration provision. Id. at 697-68. One involved a “distinct and

separate” contract that predated the distributorship agreement by three

years, and the rest concerned other independent aspects of the parties’

“working relationship,” which predated the distributorship agreement by

more than a decade. Id. Nothing in Necchi remotely “parallels” this case.

Contra Defs.Br.78.

      Cooper is even farther afield.        There, the plaintiff sued his

employer for alleged ERISA violations, and the employer invoked an

agreement to arbitrate “employment-related legal disputes.” Cooper, 990

F.3d at 177-78. This Court declined to compel arbitration, explaining

that “none of the facts relevant to the merits of [the plaintiff’s]

claims … relate[d] to his employment,” and other individuals “who were

never [the company’s] employees could have brought” identical claims.

Id. at 183-84. Nothing there suggests that the relationship between the



                                     9
         Case 22-2101, Document 895, 06/09/2023, 3527644, Page25 of 95




claims and the Subscription Agreements here is insufficient to invoke the

parties’ forum selection clause, and neither do the various out-of-circuit

cases that Defendants cite. Contra Defs.Br.80-81.1

       2. Because they cannot prevail under the established meaning of

“with respect to,” Defendants attempt to redefine that broad phrase,

arguing that the Liquidators’ claims “derive from” and “are governed by”

the Articles rather than the Subscription Agreements. Defs.Br.75-76; see

Defs.Br.78 (“governed by the Articles”); Defs.Br.82 (same); Defs.Br.84

(“depended on … the Articles”). That is, in Defendants’ view, the claims

are not “with respect to” the Agreements because they do not arise out of

the Agreements themselves. But this Court has explicitly rejected that

approach, explaining that “with respect to” and its synonyms are

“broader in scope than the term ‘arising out of.’” Coregis, 241 F.3d at 128-

29; see Huffington, 637 F.3d at 21-22 (same); ACE Cap., 307 F.3d at 32

(similar).




1Defendants’ waiver arguments are equally misguided. The Liquidators’
interpretation of “with respect to” in the forum selection clause does not
“contradict” their position that BVI law governs their claims such that
the BVI court could authorize service, contra Defs.Br.83 & n.37, and the
Liquidators’ decision not to raise other arguments on appeal does not
somehow waive the arguments they do raise, contra Defs.Br.85.

                                      10
        Case 22-2101, Document 895, 06/09/2023, 3527644, Page26 of 95




     Defendants have no response to this Court’s repeated decisions

explaining that expansive phrases like “with respect to” reach more than

just claims arising under a particular agreement, and cover any claims

with a “discoverable relation” to the agreement at issue. Coregis, 241

F.3d at 128; see ACE Cap., 307 F.3d at 32; Louis Dreyfus Negoce S.A. v.

Blystad Shipping & Trading Inc., 252 F.3d 218, 226 (2d Cir. 2001).

Defendants relegate those cases to a footnote, arguing that they involved

different contexts. Defs.Br.81 n.35. But that is no answer to the principle

those cases explain: that phrases like “with respect to” require only some

connection or relation between the claim and the agreement.

     Nor do Defendants have any real response to Huffington and

Carlyle. Contra Defs.Br.81-82. Defendants suggest that these cases

apply a “‘but-for’ test,” Defs.Br.81, but that is flatly incorrect. In fact,

both cases explicitly apply this Court’s test from Coregis, explaining that

“with respect to” is a broad term meaning “connected by reason of an

established or discoverable relation.” Huffington, 637 F.3d at 22 (quoting

Coregis, 241 F.3d at 128-29); Carlyle, 779 F.3d at 220 (same). Both cases

also interpreted forum selection clauses in investment-fund subscription

agreements—the precise type of agreement at issue in this case—and



                                     11
        Case 22-2101, Document 895, 06/09/2023, 3527644, Page27 of 95




held that disputes that were related to but did not arise under the

subscription agreements were “with respect to” the agreements. Carlyle,

779 F.3d at 220; Huffington, 637 F.3d at 22. 2

     Defendants’ attempt to narrow the scope of “with respect to” also

violates the canon against superfluity, since on their view any claim “with

respect to the … Agreement” would also be “with respect to … the Fund.”

Pls.Br.50-51. Their only response—tucked into the second paragraph of

a footnote—is to assert that a claim “by the Fund for rescission of a

Subscription Agreement” might not “relate to … the Fund,” which is its

own reductio ad absurdum.         Contra Defs.Br.86 n.39.        Conversely,

Defendants have no meaningful response to the Liquidators’ illustrations

that the normal meaning of “with respect to” does not create superfluity

here. See Pls.Br.50. The best Defendants can muster is to suggest that

the Liquidators’ reading makes “the Agreement” superfluous in any




2 Defendants observe that Huffington and Carlyle involved claims relat-
ing to the purchase of shares in the fund, rather than redemption.
Defs.Br.82. That is a distinction without a difference; the dispositive
point in both cases was that the claims were related to the subscription
agreement, even though they were not directly governed by that agree-
ment and could be pleaded without mentioning it. Huffington, 637 F.3d
at 21-22; Carlyle, 779 F.3d at 220. That is equally true of a front-end
purchase or a back-end redemption.

                                     12
        Case 22-2101, Document 895, 06/09/2023, 3527644, Page28 of 95




“investment-related dispute”—but that is just because the phrase exists

to address other disputes. Contra Defs.Br.86 n.39.3

     3. Finally, Defendants have no answer to the serious practical

problems that their interpretation would create.         As this Court has

recognized, forum selection clauses exist precisely to promote certainty,

“uniformity of result,” and “judicial economy and efficiency,” by ensuring

in advance that the relevant claims can all be brought in the specified

jurisdiction. Martinez v. Bloomberg LP, 740 F.3d 211, 219 (2d Cir. 2014).

Defendants’ interpretation would destroy that result here, forcing the

Liquidators to devote substantial effort to litigating personal jurisdiction

as to numerous individual Defendants, and potentially litigate near-

identical claims against different Defendants in different jurisdictions—

exactly the opposite of the outcome the parties’ forum selection clause

was designed to ensure. Contra Defs.Br.86-88. Notably, Defendants

make no attempt to defend the district court’s puzzling (and erroneous)

assertion that the forum selection clause should not be read to “channel


3 Defendants also invoke the principle that “equivocal contract provi-
sions” are construed against the drafters. Defs.Br.75. But under the
precedents already discussed, there is nothing “equivocal” about the term
“with respect to” in a forum selection clause. See supra pp.5-7; Coregis,
241 F.3d at 129 (finding “related to” to be “clear and unambiguous”).

                                     13
        Case 22-2101, Document 895, 06/09/2023, 3527644, Page29 of 95




‘almost any’ dispute between the Funds and Defendants to New York.”

Pls.Br.48-49 (quoting SPA.24). In fact, that is precisely what the clause

was intended to do: ensure that widespread and complex disputes like

this one could be resolved in a single forum without the need for time-

consuming and expensive litigation over personal jurisdiction. Pls.Br.48-

49.

      Defendants are right about this much: a forum selection clause “is

a creature of contract” that should be enforced in accordance with the

contractual text. Defs.Br.86 (quoting Phillips v. Audio Active Ltd., 494

F.3d 378, 387 (2d Cir. 2007)). But it is Defendants who “essentially seek

a judicial rewriting” of the clause at issue here, id. at 85; they wish to

strike the expansive “with respect to” phrase that the parties used, which

under established law requires only some discoverable relationship

between the claims and the Subscription Agreements, and replace it with

a more stringent arising-under requirement. This Court should reject

Defendants’ attempt to atextually narrow the parties’ forum selection

clause, and to force the Liquidators more than twelve years into this suit

to spend valuable resources individually litigating personal jurisdiction

to which Defendants have already consented.



                                     14
           Case 22-2101, Document 895, 06/09/2023, 3527644, Page30 of 95




II.   The Bankruptcy Code Safe Harbor Does Not Apply
      Extraterritorially To Bar The Liquidators’ Foreign
      Avoidance Claims.

      Defendants’ merits arguments fare no better. Defendants’ reading

of the Code would leave foreign liquidators in U.S. courts in a far worse

position than either domestic trustees or foreign liquidators in their own

courts, upending the purpose of Chapter 15 and preventing foreign

liquidators from avoiding transfers that would otherwise be recoverable

under both U.S. and BVI law.

      A.     The Bankruptcy Code Does Not Preclude a Foreign
             Representative From Avoiding Foreign Transfers
             Under Foreign Law, Let Alone Overcome the
             Presumption Against Applying the Domestic Safe
             Harbor Extraterritorially.

      The district court went wrong right from the start, finding that the

presumption against extraterritoriality was overcome at the first step

because (it believed) Congress expressed a “clear intent” that §546(e)

should apply extraterritoriality. But §546(e) says no such thing, and

limits domestic trustees only when it comes to domestic transfers in order

to protect domestic securities markets. Section 561(d) does no more than

extend the same domestic limits to foreign liquidators, without imposing

any limits on foreign liquidators targeting foreign transfers under foreign

law. Thus, §561(d) is inapplicable to the transfers here by its terms, and

                                        15
         Case 22-2101, Document 895, 06/09/2023, 3527644, Page31 of 95




certainly cannot overcome the presumption against extraterritoriality.

Defendants’ arguments to the contrary cannot be reconciled with

statutory text or settled law.

     1. At the first step of the extraterritoriality inquiry, a court must

determine whether the statutory text provides “a clear, affirmative

indication that it applies extraterritorially.” RJR Nabisco, Inc. v. Euro.

Cmty., 579 U.S. 325, 337 (2016). Only a clear statement will do: “When

a statute gives no clear indication of an extraterritorial application, it has

none.” City of New York v. Chevron Corp., 993 F.3d 81, 100 (2d Cir. 2021).

If the “statutory language is ‘ambiguous,’” a court “will not infer

extraterritorial jurisdiction.” Shekoyan v. Sibley Int’l, 409 F.3d 414, 420

(D.C. Cir. 2005).

      Section 546(e) by its own terms does not include any clear

statement of extraterritorial application, and protects only certain

domestic transfers and domestic markets.          Pls.Br.56-57.    The courts

below did not suggest otherwise.           Instead, they believed that the

necessary clear statement lay in §561(d)—the fourth subsection of a

statutory provision dealing with so-called “close-out” or “netting”

transactions. In particular, the district court concluded that in declaring



                                      16
         Case 22-2101, Document 895, 06/09/2023, 3527644, Page32 of 95




that “[a]ny provisions of this title relating to securities contracts … shall

apply in a case under chapter 15 … to limit avoidance powers to the same

extent as in a proceeding under chapter 7 or 11,” 11 U.S.C. §561(d),

Congress unambiguously provided that the limitations on avoidance of

securities contracts in §546(e) should apply to claims under foreign law

to avoid foreign transfers. SPA.31.

     That conclusion simply misreads §561(d). The plain text of §561(d)

says nothing whatsoever about “foreign” or “extraterritorial” application,

let alone limiting foreign liquidators’ authority under foreign law

(especially where that authority has no direct analog in the powers of a

domestic trustee).    Instead, §561(d) states only that provisions like

§546(e) should apply in cases under Chapter 15 “to the same extent as in

a proceeding under chapter 7 or 11.” That is perfectly consonant with the

normal presumption that our laws have a domestic focus: §546(e) applies

in Chapter 7 and Chapter 11 cases to limit domestic avoidance powers of

domestic trustees in order to protect domestic markets, and §561(d)

ensures that those avoidance powers apply “to the same extent” in

Chapter 15 cases. Nothing in the statutory text clearly instructs that

limitations on avoidance powers should apply to a greater extent in



                                      17
        Case 22-2101, Document 895, 06/09/2023, 3527644, Page33 of 95




Chapter 15 cases than in Chapter 7 and Chapter 11 cases, or otherwise

projects §546(e) extraterritorially to limit foreign avoidance claims

grounded in foreign law and targeting foreign transfers. Pls.Br.58-59.

     Because §561(d) “gives no clear indication of an extraterritorial

application” that would extend §546(e) to foreign avoidance claims, “it

has none.” Morrison v. Nat’l Australia Bank Ltd., 561 U.S. 247, 255

(2010). That understanding also accords with the relevant statutory

evolution, which makes clear that Congress was comfortable allowing

foreign representatives to exercise foreign avoidance powers without any

§546(e) limitation, a point Defendants do not meaningfully address. See

Pls.Br.61-62.

     2. None of Defendants’ responses hold water—which is presumably

why Defendants try to avoid the issue by jumping ahead to the second

step of the extraterritoriality inquiry. See Defs.Br.19-20. When they

finally address the first step, they shift their attention from §561(d) to

§546(e) and claim that §546(e) itself applies extraterritorially to limit

foreign avoidance claims targeting foreign transfers, even in Chapter 7

and Chapter 11 cases, on the theory that §546(e) “encompasses all forms

of avoidance under all sources of law.” Defs.Br.29. But neither court



                                     18
         Case 22-2101, Document 895, 06/09/2023, 3527644, Page34 of 95




below embraced that argument, and with good reason: That argument

simply ignores the presumption against extraterritoriality, whose entire

import is that a statute that is “silent as to [its] extraterritorial

application” must be presumed to have none. Morrison, 561 U.S. at 255.

Because §546(e) says nothing about its extraterritorial application, it

cannot come close to providing the requisite clear indication that it

applies extraterritorially. Indeed, the majority of courts have held that

a domestic trustee’s avoidance powers do not extend extraterritorially in

the first place, see Pls.Br.9 & n.2 (citing cases), and thus a fortiori a limit

on those powers, such as §546(e), does not apply extraterritorially, let

alone reflect a clear intent for purposes of the first step of the

extraterritoriality inquiry.

      Next, Defendants (like the district court) assert that §561(d) cannot

be read to extend §546(e) only to domestic avoidance powers in Chapter

15 cases, because (Defendants say) foreign representatives have no

domestic avoidance powers under Chapter 15.               Defs.Br.34.      That

argument suffers multiple flaws, starting with the text.                 Foreign

liquidators plainly have domestic avoidance powers in some cases arising

under Chapter 15. For example, Defendants do not dispute that Chapter



                                      19
        Case 22-2101, Document 895, 06/09/2023, 3527644, Page35 of 95




15 authorizes foreign representatives to “commence” a “voluntary case

under section 301 or 302” or “an involuntary case under section 303,” 11

U.S.C. §1511(a), and recognize that Chapter 15 authorizes foreign

representatives to “initiate actions under [the Code’s avoidance sections]”

in such cases. Id. §1523(a). Defendants assert that any case initiated

under §1511(a) or avoidance action initiated under §1523(a) would not

constitute the use of avoidance powers “in a case under chapter 15,” id.

§561(d), and so §561(d) would be inapplicable. Defs.Br.31-33. But such

a case would plainly be “a case under chapter 15,” as Chapter 15 is what

empowers a foreign liquidator to bring the avoidance action. Indeed,

Chapter 15 itself makes clear that “a case under this chapter” is one

“commenced by the filing of a petition for recognition of a foreign

proceeding under section 1515.”       11 U.S.C. §1504.      Everything that

follows that filing in the U.S. courts is “a case under Chapter 15,” even if

the provisions of Chapter 15 empower foreign liquidators to use

authorities under other chapters. See, e.g., 11 U.S.C. §1511(a). Not

surprisingly, courts routinely (and correctly) refer to such §1511(a)

proceedings as existing “within a Chapter 15 case.”          See, e.g., In re

Fairfield Sentry Ltd. Litig., 458 B.R. 665, 679, 680 (S.D.N.Y. 2011).



                                     20
        Case 22-2101, Document 895, 06/09/2023, 3527644, Page36 of 95




     Thus, Defendants’ real claim is that a foreign liquidator’s use of

domestic avoidance powers under Chapter 7 and 11 would be limited by

§546(e) directly, and so §561(d) must impose some additional limit on

foreign liquidators. But this appeal to the superfluity canon is no match

for the substantive presumption against extraterritoriality.            The

superfluity canon is a notoriously weak guide to statutory construction.

See, e.g., Rimini St., Inc. v. Oracle USA, Inc., 139 S.Ct. 873, 881 (2019);

Brett M. Kavanaugh, Fixing Statutory Interpretation, 129 Harv. L. Rev.

2118, 2161-62 (2016). It is essentially a negative inference from another

provision, and the presumption against extraterritoriality demands a

“clear, affirmative indication,” not an ambiguous negative inference.

RJR Nabisco, 579 U.S. at 337. Regardless, §561(d)’s extension of limits

on a trustee’s avoidance powers to foreign liquidators in a case under

Chapter 15 is not superfluous. Section 546(e) by its terms applies only to

a “trustee,” not a foreign representative or liquidator, and unlike §561(d)

it does not explicitly limit every exercise of “avoidance powers.” Thus,

§561(d) eliminates ambiguities that would persist about whether and to

what extent §546(e) alone would limit a foreign representative’s

authority to seek avoidance under §1523(a)—underscoring that §561(d)



                                     21
         Case 22-2101, Document 895, 06/09/2023, 3527644, Page37 of 95




has work to do even if it is limited to domestic rather than extraterritorial

application.

     Indeed, that work goes beyond eliminating ambiguity, as there are

at least two other applications of §561(d) that would give that section

independent effect.      First, §561(d) can limit the power of domestic

trustees to avoid “close-out” transactions, which is the focus of §561 as a

whole. Pls.Br.62-64. Defendants barely respond, asserting only in a

footnote that domestic trustees cannot bring Chapter 15 cases.

Defs.Br.35 n.16. But there is no bar to a domestic trustee participating

in a proceeding initiated by a foreign representative under Chapter 15,

and §561(d) would make clear that a domestic trustee could not avoid

close-out transfers in that proceeding.

     Second, §561(d) precludes foreign liquidators from avoiding a

domestic transfer involving securities absent proof of intentional fraud,

i.e., the precise universe of transfers that are off-limits to domestic

trustees.   Pls.Br.65.    Once again, Defendants have no meaningful

response, asserting only that “foreign law would rarely, if ever, govern a

domestic transfer.” Defs.Br.34. But that is demonstrably not true, as the

laws of foreign nations reflect a variety of approaches to whether and



                                      22
         Case 22-2101, Document 895, 06/09/2023, 3527644, Page38 of 95




when to reach transfers in the United States. Indeed, in this very case,

Defendants insist that some of their own transfers are domestic transfers

targeted by foreign-law avoidance claims. See Defs.Br.26 n.11.

     3. Defendants next seek the requisite clear and affirmative

indication of extraterritoriality in the final parenthetical of §561(d),

which provides that the enforcement of securities contracts is “not to be

limited based on the presence or absence of assets of the debtor in the

United States.” 11 U.S.C. §561(d); see Defs.Br.35-37. But that language

just proves that Congress knows how to use language sufficient to

overcome the presumption against extraterritoriality and did so as to

debtors whose assets are solely outside the United States, but not as to

foreign avoidance claims targeting foreign transfers.         Pls.Br.64 n.10.

Congress’ express direction that §561(d) applies to some extraterritorial

circumstances only underscores the absence of that express direction as

to the circumstances here. See Morrison, 561 U.S. at 265 (“[W]hen a

statute provides for some extraterritorial application, the presumption

against extraterritoriality operates to limit that provision to its terms.”).

Moreover, Defendants do not dispute that this parenthetical was inserted

to resolve an uncertainty about in rem jurisdiction, not to indicate



                                      23
          Case 22-2101, Document 895, 06/09/2023, 3527644, Page39 of 95




broader extraterritorial application, further undermining its relevance.

Pls.Br.64 n.10; contra Defs.Br.37 n.17.

     4.    Finally, Defendants cannot avoid the conflict between their

interpretation and the principles of international comity that Congress

enshrined in Chapter 15. Pls.Br.65-67. Instead, Defendants claim those

principles are “irrelevant” and “unmoored from any statutory text.”

Defs.Br.37. But the text of Chapter 15 instructs that it must be read

consistent with “its international origin” and “the application of similar

statutes adopted by foreign jurisdictions,” 11 U.S.C. §1508, and explicitly

invokes principles of comity and international cooperation in multiple

provisions, see, e.g., id. §§1501, 1507(b), 1509(b)(3). Moreover, the whole

point of Chapter 15 is to facilitate the efforts of foreign liquidators to

protect creditors. It makes no sense to read the Code to frustrate those

efforts for a class of cases where foreign law empowers the foreign trustee

to avoid foreign transfers and there is no material threat to domestic

transfers or domestic markets. Thus, Defendants’ interpretation runs

afoul of the presumption against extraterritoriality, the presumption in

favor of international comity, and the whole thrust of Chapter 15.




                                       24
          Case 22-2101, Document 895, 06/09/2023, 3527644, Page40 of 95




     B.     Applying the Section 546(e) Safe Harbor to Foreign
            Avoidance Claims Is Not a Domestic Application.

     Defendants’ preferred argument that the application of §546(e) here

is a domestic one fares no better. Both logic and precedent dictate that

§546(e)—like the avoidance provisions with which it interacts—is focused

on the underlying transfers, and applying §546(e) to shield foreign trans-

fers is therefore an extraterritorial application.

     1. The second step of the extraterritoriality inquiry turns on where

“the conduct relevant to the statute’s focus occurred.” RJR Nabisco, 579

U.S. at 337. If that conduct “occurred in a foreign country, then the case

involves an impermissible extraterritorial application regardless of any

other conduct that occurred in U.S. territory.” Id.

     That makes this case straightforward, because the Supreme Court

has already concluded that “the focus of the §546(e) safe-harbor inquiry

[is] on the transfer.” Merit Mgmt. Grp., LP v. FTI Consulting, Inc., 138

S.Ct. 883, 895-96 (2018). While Merit Management did not identify the

focus of §546(e) for the specific purpose of the RJR Nabisco analysis, the

focus of a statute does not shift. Under that binding decision, because

the transfers that the Liquidators seek to avoid occurred abroad, apply-

ing §546(e) to those foreign transfers via §561(d) would plainly be a


                                       25
        Case 22-2101, Document 895, 06/09/2023, 3527644, Page41 of 95




prototypical (and impermissible) extraterritorial application.          RJR

Nabisco, 579 U.S. at 337.4

     This Court’s decision in In re Picard, 917 F.3d 85 (2d Cir. 2019),

reinforces that conclusion. Applying the same extraterritoriality inquiry,

Picard held that the “focus” of the Code’s substantive avoidance

provisions is the “initial transfer that fraudulently depletes the estate.”

Id. at 98-99. Picard likewise explained that when assessing the “focus”

of a statutory provision, a provision that “works in tandem with other

provisions … must be assessed in concert with those other provisions.”

Id. at 96 (quoting WesternGeco LLC v. ION Geophysical Corp., 138. S.Ct.

2129, 2137 (2018)). That rule controls here: The Code’s avoidance powers

and the §546(e) limitation on those powers are “two sides of the same

coin,” Merit Mgmt., 138 S.Ct. at 894, and so have the same focus on the

underlying transfer. Applying §546(e) to protect foreign transfers that




4 Defendants suggest in a footnote that some of the transfers here may
be considered domestic for extraterritoriality purposes because they were
made to domestic recipients. Defs.Br.25 n.11. But just as transfers made
from the United States by domestic entities are domestic for extraterri-
toriality purposes regardless of the recipient, Picard, 917 F.3d at 99-100,
transfers made from abroad by foreign entities plainly implicate the basic
rationale for the presumption against applying U.S. law to foreign trans-
actions.

                                     26
        Case 22-2101, Document 895, 06/09/2023, 3527644, Page42 of 95




would otherwise be subject to avoidance based on foreign law is therefore

an extraterritorial application of the statute.

     That conclusion accords not only with governing precedent, but

with the purpose of §546(e) and the “especially important” demands of

international comity in bankruptcy proceedings. Picard, 917 F.3d at 103.

Section 546(e) exists to protect the domestic securities markets from

“displacement ... in the event of a major bankruptcy,” not to protect

foreign markets or regulate foreign securities-related transfers. Enron

Creditors Recovery Corp v. Alfa, S.A.B. de C.V., 651 F.3d 329, 334 (2d Cir.

2011); see In re Tribune Co. Fraudulent Conveyance Litig., 499 B.R. 310,

317 (S.D.N.Y. 2013) (section 546(e) seeks “to enhance the stability of the

nation’s financial markets”).        Applying §546(e) to prevent foreign

representatives from bringing foreign claims to avoid foreign transfers

would turn the United States from a cooperative partner in cross-border

bankruptcy proceedings into a needless obstacle, creating exactly the

international friction that Chapter 15 was designed to alleviate.

Pls.Br.73; see 11 U.S.C. §1501(a).

     2. Defendants have no meaningful response to any of this. They

begin by calling it “clear” that §561(d) “is being applied domestically,”



                                      27
        Case 22-2101, Document 895, 06/09/2023, 3527644, Page43 of 95




because it “applies only when, as here, a foreign representative comes to

the United States seeking a U.S. court’s assistance.” Defs.Br.20. That

makes no sense. The mere fact that a statute is being applied “in a U.S.

proceeding” is a necessary precondition for a U.S. court to consider

whether the presumption against extraterritoriality even applies; it thus

falls far short of showing that the statute is “being applied domestically”

under step two of the extraterritoriality inquiry. Contra Defs.Br.20.

Otherwise, asserting any statute in a U.S. court would automatically be

a domestic application of that statute—making the second step of the

RJR Nabisco test dispositive in every case, rendering the first step

superfluous and the presumption against extraterritoriality “a craven

watchdog indeed.” Morrison, 561 U.S. at 266.

     The key question is not whether statute is being invoked in a

domestic court, but instead whether “the conduct relevant to the

[statute’s] focus” occurred abroad, RJR Nabisco, 579 U.S. at 337—that is,

the “transactions that the statute seeks to ‘regulate.’” Morrison, 561 U.S.

at 267. And that analysis looks not just at §561(d) in isolation, but “in

concert with” the other provisions with which it “works in tandem,” such

as §546(e). Picard, 917 F.3d at 96. When those statutes are being applied



                                     28
         Case 22-2101, Document 895, 06/09/2023, 3527644, Page44 of 95




to limit foreign avoidance claims targeting a foreign transfer, the

application is clearly extraterritorial.

     Defendants invoke legislative history.        Defs.Br.21-22.        But the

Supreme Court has already determined the focus of §546(e) by reference

to the statutory text, rendering this attempted resort to legislative

history distinctly unavailing.       Regardless, nothing in Defendants’

legislative history suggests that when §546(e) and §561(d) are being used

to limit a foreign representative’s ability to bring foreign claims targeting

foreign transfers, that application is somehow domestic.                  Contra

Defs.Br.21-22.5

     Defendants have equally little response to the binding precedents

that resolve this case. As to Merit Management, they suggest that it is

inapposite because it “discusses only Section 546(e),” not §561(d). But

§561(d) extends provisions like §546(e) to Chapter 15 proceedings “to the




5At most, Defendants’ legislative history indicates that historical context
and some “statements by the Executive Branch, members of Congress,
and industry groups” suggested Congress should apply §546(e) to foreign
transactions. Defs.Br.21-22. But whether Congress has chosen to apply
a statute extraterritorially is the question at step one, not step two—and
the legislative history here provides nothing like the “clear, affirmative
indication” of extraterritorial application required at that step. RJR
Nabisco, 579 U.S. at 337.

                                      29
         Case 22-2101, Document 895, 06/09/2023, 3527644, Page45 of 95




same extent” they apply under other chapters, so the focus and

extraterritoriality of §546(e) remain dispositive. Indeed, even without an

express to-the-same-extent linkage, precedent requires considering the

focus of the statutes with which a provision “works in tandem.” Picard,

917 F.3d at 96; see, e.g., WesternGeco, 138 S.Ct. at 2137-38 (determining

focus of damages remedy under 35 U.S.C. §284 by focus of the underlying

infringement provision).     Alternatively, Defendants (like the district

court) say that Merit Management is distinguishable because it assessed

the focus of §546(e) for other purposes. Defs.Br.26. But a statute’s focus

is its focus, see Pls.Br.70, and Defendants (like the district court) have no

basis for their puzzling suggestion that §546(e) might have one focus for

some purposes and a different focus for extraterritoriality purposes.

Given the thrust of the presumption, the focus certainly should not

change to give a statute a greater effect on foreign transactions.

     As to Picard, Defendants concede its holding that the focus of the

Code’s avoidance powers is the “initial transfers sought to be avoided,”

Defs.Br.25, and do not dispute that it requires assessing a “statutory

provision [that] works in tandem with other provisions … in concert with

those other provisions,” Picard, 917 F.3d at 96 (quoting WesternGeco, 138



                                      30
        Case 22-2101, Document 895, 06/09/2023, 3527644, Page46 of 95




S.Ct. at 2137). That gives the game away, since it is undisputed (and

indisputable) that the Code’s avoidance provisions and its limitations on

avoidance operate in tandem—indeed, are “two sides of the same coin.”

Merit Mgmt., 138 S.Ct. at 894. Given that statutory context, Defendants

cannot plausibly maintain that §546(e) and §561(d) somehow do not

“regulate[] conduct” when they operate (like the Code’s avoidance

provisions themselves) to prevent foreign trustees from avoiding foreign

transfers they could otherwise avoid. Contra Defs.Br.25. 6

     Defendants find no support in Force v. Facebook, 934 F.3d 53 (2d

Cir. 2019). Contra Defs.Br.23-24. As Defendants acknowledge, Force is

not about the Bankruptcy Code at all; it instead addressed §230(c)(1) of

the Communications Decency Act, and made clear that its analysis was

“confined to” that context. Contra Defs.Br.24. In fact, Force explicitly

disclaimed any intent to establish a categorical rule about “statutes that




6 Defendants also plainly misread Kiobel v. Royal Dutch Petroleum Co.,
569 U.S. 108 (2013). Contra Defs.Br.27. While Kiobel did not explicitly
discuss the “focus” of the Alien Tort Statute, its analysis makes crystal
clear that a suit in U.S. court based on conduct abroad is an extraterrito-
rial application of that statute. See 569 U.S. at 117-24; Pls.Br.72-73.
That cannot be squared with Defendants’ position that applying a statute
“in a U.S. proceeding” automatically implies a domestic application. Con-
tra Defs.Br.20.

                                     31
        Case 22-2101, Document 895, 06/09/2023, 3527644, Page47 of 95




merely limit civil liability.” 934 F.3d at 74. It emphasized instead that

its analysis turned on “the text of Section 230, particularly the words

‘shall be treated’”—words that are nowhere to be found in either §546(e)

or §561(d). Id. Defendants err in reading Force to stand for broad

principles that the decision expressly disclaimed.

     Notably, the principles of comity that Force considered point in

exactly the opposite direction here.         Force noted that the same

“international discord that can result when U.S. law is applied to conduct

in foreign countries” could also arise from “[a]llowing a plaintiff’s

[federal] claim to go forward because the cause of action applies

extraterritorially, while then applying the presumption to block a

different provision setting out [federal] defenses to that claim.” Force,

934 F.3d at 73. Here, by contrast, the question is not whether to apply a

federal defense to a federal claim, but whether to extend a domestic

limitation to hamstring a foreign claim that is authorized by foreign law.

In this context, unlike Force, the demands of comity and the basic

purpose of Chapter 15 weigh heavily against reading a federal statute to

apply a domestic limitation, which does not exist under foreign law, to a




                                     32
          Case 22-2101, Document 895, 06/09/2023, 3527644, Page48 of 95




foreign representative asserting a foreign claim against a foreign

fraudulent transfer.7

     In short, both binding precedent and common sense confirm that

the focus of §546(e) and §561(d) is on the underlying transfers at issue.

Because the transfers in this case occurred abroad, applying those

statutes to limit the avoidance of those transfers would be an

impermissible extraterritorial application. This Court should reverse the

district court’s incorrect contrary holding.

     C.      Even If §561(d) Reached Foreign Transfers, the
             Liquidators’ Avoidance Claims Would Fall Within the
             Exception for Intentional Fraudulent Transfers.

     Even if §561(d) were read to extend §546(e) extraterritorially to

limit foreign avoidance claims directed at foreign transfers, it would do

so only “to the same extent” that domestic transfers are shielded from

avoidance.     A domestic trustee can avoid intentionally fraudulent

transfers even when they involve securities transactions. Thus, nothing

in §561(d) limits the power of foreign liquidators to avoid intentionally




7Defendants gain nothing by relying on Blazevska v. Raytheon Aircraft
Co., 522 F.3d 948 (9th Cir. 2008). Contra Defs.Br.24-25. That case “was
decided prior to Morrison and, therefore, carries little (if any) clout.”
Loginovskaya v. Batratchenko, 764 F.3d 266, 272 n.5 (2d Cir. 2014).

                                       33
        Case 22-2101, Document 895, 06/09/2023, 3527644, Page49 of 95




fraudulent transfers like those at issue here. Defendants’ efforts to evade

that obvious conclusion are unavailing.

     1. Section 546(e) does not shield intentionally fraudulent transfers

from avoidance; it excludes from its protective scope any avoidance

claims “under section 548(a)(1)(A),” which covers transfers made “with

actual intent to hinder, delay, or defraud.”           11 U.S.C. §§546(e),

548(a)(1)(A). That precisely describes the transfers at issue here. As

alleged in the Liquidators’ complaints, Citco intentionally used

fraudulently inflated NAVs as the basis for the redemption payments

(and pocketed exorbitant fees based on those fraudulently inflated NAVs

to boot). See Pls.Br.75. Those allegations are more than sufficient to

plead actual and intentional fraud, and Defendants make no serious

attempt to contend otherwise.         See SPA.37 (recognizing that the

Liquidators “have specifically alleged that the Redemption Payments

were fraudulent due to Citco’s bad faith”).

     Instead, Defendants raise a much broader (albeit meritless)

argument: They contend that the exception to §546(e) for intentional

fraud claims applies only to claims that literally arise “under section

548(a)(1)(A),” and so that exception cannot preserve any avoidance claims



                                     34
        Case 22-2101, Document 895, 06/09/2023, 3527644, Page50 of 95




brought under foreign law (whether or not they allege intentional fraud).

Defs.Br.38. That is, on Defendants’ view, §561(d) extends §546(e)’s limits

without extending §548(a)(1)(A)’s exception, such that §561(d) bars all

foreign avoidance claims in connection with securities contracts, with no

exception for claims based on intentional fraudulent transfers.

Defs.Br.38-39.

     As even the district court recognized, the argument “makes no

sense.” SPA.37. If §561(d) applies §546(e) extraterritorially to limit

foreign avoidance claims at all, it does so only “to the same extent” that

§546(e) limits domestic avoidance claims. 11 U.S.C. §561(d). Defendants’

approach would instead apply §546(e) to “limit avoidance powers to a

broader extent” for foreign avoidance claims than for domestic avoidance

claims, by extending §546(e)’s general prohibition without its qualifying

exception. In re Norske Skogindustrier ASA, 629 B.R. 717, 762 (Bankr.

S.D.N.Y. 2021) (rejecting Defendants’ position). That “clearly is not what

Congress intended,” SPA.37, and would squarely conflict with Congress’

consistent practice of declining to shield intentionally fraudulent

transfers from avoidance, see Pls.Br.76-77. Defendants’ reading also

contravenes the basic purpose of Chapter 15—namely, facilitating the



                                     35
        Case 22-2101, Document 895, 06/09/2023, 3527644, Page51 of 95




efforts of foreign liquidators in U.S. courts—by leaving them helpless to

avoid intentional fraudulent transactions that are avoidable under both

foreign and U.S. law and that domestic trustees could readily avoid.8

     2. Despite correctly recognizing that the statutory exception to

§546(e) allows foreign representatives to avoid intentional fraudulent

transfers, the district court nevertheless concluded that the Liquidators’

avoidance claims fell outside that exception because the “legal basis” for

those claims did not “contain a fraud element”—i.e., because the BVI

statutes under which the Liquidators’ claims arise do not formally make

intentional fraud an element of those claims. SPA38. That analysis

improperly demands that foreign causes of action conform to domestic

preconceptions, in contravention of the purpose of Chapter 15 and

principles of international comity. See Pls.Br.76-78. Instead, the correct

inquiry is whether the foreign avoidance claims at issue actually allege




8 Defendants argue that §546(e)’s statutory exception cannot reach all
intentional fraud claims, because courts “routinely” apply §546(e) to dis-
miss state-law fraud claims. Defs.Br.38-39. But as the district court ex-
plained, those state claims are barred “because they are preempted” by
§546(e) and the federal §548(a)(1)(A) remedy. SPA.36. There is no such
preemption (or alternative federal remedy) for foreign claims, “making
the analogy inapposite.” SPA.36; see infra p.44.

                                     36
        Case 22-2101, Document 895, 06/09/2023, 3527644, Page52 of 95




that the challenged transfer was tainted by intentional fraud—a

standard that the Liquidators’ allegations here readily meet.

     Defendants have no response to the manifold problems with the

district court’s categorical focus on the elements of foreign causes of

action rather than the facts alleged about the challenged transfer. In

particular, Defendants do not (and cannot) explain why Congress would

want to insulate intentional fraudulent transfers from challenge

whenever a foreign avoidance statute does not specifically enumerate

fraudulent intent as a distinct element, a rule that would only encourage

fraudsters to “hide assets in the United States out of the reach of the

foreign jurisdiction.” In re Condor Ins. Ltd., 601 F.3d 319, 327 (5th Cir.

2010); see Pls.Br.77.

     For instance, if a foreign jurisdiction chose to distill all its

fraudulent conveyance rules into a single statute making all undervalued

transactions voidable regardless of intent, Defendants’ approach would

bar ever applying that foreign statute to avoid a securities-related

transfer, even in cases of egregious and deliberate fraud. See SPA.38

(holding the foreign avoidance claim must “contain a fraud element”).

That cannot be reconciled with either Congress’ decades-long emphasis



                                     37
        Case 22-2101, Document 895, 06/09/2023, 3527644, Page53 of 95




on avoiding any protection for intentional fraud under §546(e) in the

domestic arena or §561(d)’s “to the same extent” language. See Pls.Br.76-

77. Nothing in §561(d) limits the avoidance powers of foreign liquidators

under foreign law to some preconceived notion that the power to avoid

intentionally fraudulent transfers must be separately codified. Rather,

at most, §561(d) limits a foreign liquidator from avoiding a securities-

related transfer that would be off-limits to a domestic trustee applying

domestic law.    Applying that provision faithfully does not require

disrespecting foreign avoidance powers that do not sufficiently conform

to U.S. law or a preconceived notion that the ability to target intentional

fraud should be separately codified with distinct elements. The district

court’s contrary approach disrespects foreign jurisdictions’ choices about

how to structure their fraudulent transfer laws, invites international

friction, and undermines the “effective mechanisms for dealing with

cases of cross-border insolvency” that Chapter 15 is designed to provide.

11 U.S.C. §1501(a).

     Rather than defend the district court’s approach, Defendants assert

that the Liquidators “expressly disclaimed that they were bringing

intentional fraud claims” and so “did not plead the elements of such a



                                     38
        Case 22-2101, Document 895, 06/09/2023, 3527644, Page54 of 95




claim.” Defs.Br.40 (emphasis omitted). That assertion is inexplicable.

Nothing in the record pages that Defendants cite includes any such

“express[] disclaime[r],” contra Defs.Br.40 (emphasis omitted), and in

fact the Liquidators’ pleadings are replete with allegations showing

intentional fraud, see generally JA.4634-43.          In fact, Defendants

eventually appear to recognize that the Liquidators pleaded “factual

allegations of fraud”; they argue only that those allegations should be

ignored because intentional fraud is not a separate element of the

Liquidators’ claims, Defs.Br.40-41, which just begs the question of

whether the statutory exception turns on foreign-law elements or factual

allegations.

     Any insistence that “intentional fraud” be a formal element of an

avoidance action is particularly misplaced here, given that a §246 claim

“cannot proceed if the debtor entered a transaction in good faith,”

Pls.Br.76 (emphasis omitted), because (as Defendants concede) a

transaction is not undervalue if “the company enters into the transaction

in good faith,” BVI Insolvency Act §246(2); see Defs.Br.41-42. That

requirement explains why the Liquidators’ complaint does allege facts

showing intentional fraud, as those facts underscore the absence of good



                                     39
        Case 22-2101, Document 895, 06/09/2023, 3527644, Page55 of 95




faith. JA.4634-43; see SPA.37 n.31 (“Under BVI law, ‘bad faith’ and

‘fraud’ are governed by the same criteria, making the two terms

interchangeable in use.”); JA.1307 (Defendants’ expert equating “bad

faith” with “deceit or fraudulent misrepresentation”).           Regardless,

Defendants’ focus on whether actual fraud is “an element of a Section 246

claim,” Defs.Br.42, misses the point, as the proper inquiry does not turn

on the formal elements of the foreign cause of action. Pls.Br.75-78; see

supra pp.36-38. 9

                                  * * *

     In sum, even if §561(d) were read to extend §546(e) to apply

extraterritorially to foreign avoidance claims targeting foreign transfers,

the claims here would still go forward because they fall within the

statutory   exception   for   intentional    fraud.      Applying       §546(e)

extraterritorially without its statutory exception, or only to the extent

foreign statutory avoidance powers conformed to U.S. law, would impose




9 Defendants suggest that to satisfy their test, the Liquidators should
have brought their avoidance claims under §81 of the BVI Conveyancing
and Law of Property Act. The fact that Defendants would demand a for-
eign liquidator to proceed under the Conveyancing and Law of Property
Act, rather than the Insolvency Act, runs counter to the basic thrust of
Chapter 15 and is a strong hint that their standard is wrong.

                                     40
        Case 22-2101, Document 895, 06/09/2023, 3527644, Page56 of 95




a bizarre asymmetry with no support in §561(d). The avoidance powers

of foreign representatives would be limited to a greater extent than

domestic trustees, and a chapter of the Bankruptcy Code designed to

encourage comity and cooperation in cross-border insolvencies would be

repurposed to force foreign law to fit a preconceived American mold.

III. The District Court Erred In Affirming The Dismissal Of The
     Liquidators’ BVI Common Law And Contract Claims.

     The district court also erred in dismissing the Liquidators’ BVI

Common Law and Contract Claims. Those claims, which provide an

independent basis for recovery even if §546(e) limits the Liquidators’

avoidance powers, seek to recapture over $6 billion in inflated

redemption payments that were based on fraudulent NAVs in order to

equitably redistribute the proceeds to all the defrauded investors.

Defendants resist those claims, asserting that the fraudulent NAVs are

“binding” on the Liquidators because the Liquidators “stand in the shoes

of the Funds” and so (according to Defendants) are bound by the actions

of the Funds’ authorized agent even when those actions were fraudulent.

Defs.Br.48.   But the BVI’s highest judicial authority—the Judicial

Committee of the Privy Council—has ruled that where NAVs are

fraudulently calculated by an investment fund’s authorized agent, the


                                     41
          Case 22-2101, Document 895, 06/09/2023, 3527644, Page57 of 95




NAVs are not binding, and liquidators may recover the fraudulently

inflated payments through contract and common law actions.                See

Skandinaviska Enskilda Banken AB (Publ) v. Conway (as Joint Official

Liquidators of Weavering Macro Fixed Income Fund Ltd.), [2019] UKPC

36 (“Weavering II”), SPA.417-66. None of Defendants’ various attempts

to evade Weavering II succeeds.

     A.     The Bankruptcy Code Safe Harbor Does Not Bar the
            Liquidators’ BVI Common Law Claims.

     Defendants first try to avoid Weavering II altogether by advancing

an argument that the district court rejected and that is the subject of a

pending request for interlocutory appeal—namely, that §561(d) and

§546(e) not only extend extraterritorially to restrict the Liquidators’

ability to “avoid a transfer,” 11 U.S.C. §546(e), but also override the

Liquidators’ ability to assert independent BVI common law claims. See

Defs.Br.44-47.      Defendants assert that because §546(e) has been

interpreted to preempt certain state common law claims in Chapter 7 and

11 cases, it should also be applied “through Section 561(d)” to prohibit

similar foreign claims in a Chapter 15 proceeding. Defs.Br.44. Both the

bankruptcy court and the district court correctly rejected this argument,

which would effectively project the Supremacy Clause extraterritorially


                                       42
         Case 22-2101, Document 895, 06/09/2023, 3527644, Page58 of 95




in complete derogation of principles of international comity. See SPA.36,

39-40; In re Fairfield Sentry Ltd., 2020 WL 7345988, at *9-10 (Bankr.

S.D.N.Y. Dec. 14, 2020). This Court should follow suit.10

     First and fatally, Defendants’ position is inconsistent with the text

of §561(d), which instructs that §546(e) shall apply “to limit avoidance

powers” in Chapter 15 cases (emphasis added). Even if §561(d) could be

read to extend extraterritorially to limit foreign statutory avoidance

claims’ application to foreign transfers, but see supra pp.15-24, it does not

by its terms limit foreign common law claims. As the bankruptcy court

explained, the Liquidators’ Common Law claims are not “avoidance

claims”—even if the two sets of claims “may ultimately lead to the same

result,” namely, “a money judgment for the amount of the redemption

payments”—because they “proceed on different theories and different




10 Because the lower courts rejected this argument, they allowed the Liq-
uidators’ constructive trust claims to proceed against Defendants that al-
legedly knew of the Madoff fraud when they received their redemptions.
See Fairfield III, 2020 WL 7345988, at *1, *9-10. Those Defendants have
filed 18 petitions for interlocutory appeal based ostensibly on this issue.
See, e.g., Fairfield Sentry Ltd. v. UBS AG N.Y., No. 23-517 (2d Cir.). Alt-
hough those petitions remain pending—and should be denied, see gener-
ally Opposition, Fairfield Sentry Ltd. v. UBS AG N.Y., No. 23-517 (2d Cir.
Apr. 17, 2023), Dkt.10—the Liquidators address the issue here to the ex-
tent this Court considers it as an alternative basis for the decision below.

                                      43
          Case 22-2101, Document 895, 06/09/2023, 3527644, Page59 of 95




proof.”   In re Fairfield Sentry Ltd., 2021 WL 771677, at *3 (Bankr.

S.D.N.Y. Feb. 23, 2021).

     Defendants emphasize that §546(e) has been read to implicitly

preempt domestic trustees from bringing some state-law fraudulent

transfer and unjust enrichment claims. See Defs.Br.44-45 (citing In re

Tribune Co. Fraudulent Conveyance Litig., 946 F.3d 66, 92 (2d Cir. 2019);

In re Nine W. LBO Sec. Litig., 482 F.Supp.3d 187, 207 (S.D.N.Y. 2020);

AP Servs., LLP v. Silva, 483 B.R. 63, 71 (S.D.N.Y. 2012)). But those

decisions depend on the clear rule supplied by the Supremacy Clause,

which forces the law of inferior domestic sovereigns to yield to the law of

the superior national sovereign. As the courts below recognized, those

principles are simply “inapplicable to considerations of federal law versus

foreign law,” where assertions of supremacy could be a casus belli and

give way to principles of respect and international comity. Fairfield III,

2020 WL 7345988, at *10 (emphasis added) (quoting Al-Kurdi v. United

States, 25 Cl. Ct. 599, 601 n. 3 (Cl. Ct. 1992)); accord SPA.36-37, 40.

Unsurprisingly, Defendants do not cite a single case conducting a

preemption analysis as to foreign law.




                                       44
          Case 22-2101, Document 895, 06/09/2023, 3527644, Page60 of 95




     Defendants’ contention that “foreign law applies within the United

States only as a matter of comity,” Defs.Br.45, is inapposite here, because

Chapter 15 expressly contemplates that U.S. courts will apply foreign

law, including foreign contract and common law, in “act[ing] as an

adjunct or arm of a foreign bankruptcy court.” In re Fairfield Sentry Ltd.

Litig., 458 B.R. 665, 679 (S.D.N.Y. 2011); accord Defs.Br.45 (recognizing

that “all the claims arise under foreign law” in this Chapter 15 case).

Thus, because Chapter 15 makes foreign contract and common law

presumptively applicable, and §561(d) provides the only plausible basis

for displacing that law, and neither its text nor preemption principles

displace foreign law, the courts below were correct to let those claims

proceed. See Condor, 601 F.3d at 327 (“Congress did not intend [Chapter

15] to restrict the powers of the U.S. court to apply the law of the country

where the main proceeding pends.”).

     B.     Neither the Funds’ Articles nor BVI Law Bars the
            Liquidators’ BVI Common Law Claims.

     Defendants attempt to defend the dismissal of the Common Law

and Contract Claims on four other grounds, asserting that: (1) under the

Funds’ Articles, “redemption payments are final and binding once

completed”—even if based on fraudulently inflated NAVs, Defs.Br.49; see


                                       45
         Case 22-2101, Document 895, 06/09/2023, 3527644, Page61 of 95




id. at 54-59; (2) Defendants “provided good consideration” for their

redemption payments, see id. at 63-65; (3) the Liquidators’ claims are

barred by §31 of the BCA, see id. at 50-53; and (4) the Liquidators’ claims

are precluded by the BVI common law doctrine of ex turpi causa non

oritur action (“ex turpi”), see id. at 60-63. None of these arguments has

merit.

     1. Defendants’ contention that the fraudulently inflated NAVs are

“binding” under the Funds’ Articles is based on Fairfield Sentry Ltd. (in

Liquidation) v. Migani, [2014] UKPC 9, a 2014 Privy Council decision

that addressed certain “preliminary issues” in the Liquidators’ BVI

Redeemer actions. Pls.Br.23; see Defs.Br.54-57. Migani held that the

NAVs ascertained by Fairfield Sentry’s Directors at the time of the

redemption were “binding on the Fund under Article 11 of its Articles.”

SPA.153; see SPA.158, 160, 162 (where Fund’s NAV is determined in

accordance with Article 11(1), it is conclusive). But Migani addressed

only the question of whether the NAVs were binding if they were made

in good faith—i.e., in the “belief that the assets were as stated.” SPA.153.

It did not consider the factual question of whether the NAVs were indeed

made in good faith, an issue on which the parties were not afforded



                                      46
        Case 22-2101, Document 895, 06/09/2023, 3527644, Page62 of 95




discovery; on the contrary, the proceedings in Migani expressly carved

out all such factual issues, and preserved the parties’ right to raise them

in subsequent litigation. Pls.Br.23; see JA.223. As a result, nothing in

Migani considered whether a fraudulent NAV is binding—an issue that

was not raised in that case. SPA152-62; see Pls.Br.23-24.

     That issue was instead addressed by the Privy Council’s subsequent

decision in Weavering II, which considered whether NAVs are binding if

“prepared on a fraudulent basis by the person to whom the directors had

given actual authority to carry out the valuations.” SPA.430. Weavering

II held that where NAVs have been fraudulently inflated by the fund’s

agent, they are not binding, and so the fraudulently inflated redemption

payments may be disgorged. Id. That decision controls here, and makes

clear that the Liquidators’ contract and common law claims may proceed.

Pls.Br.79-82.

     Indeed, this case follows a fortiori from Weavering II. In Weavering

II, the company’s articles stated that NAVs were to be determined using

“generally accepted accounting principles,” and that any valuations made

“pursuant to the[] articles” would be “binding on all persons.” SPA.428.

The Privy Council read these provisions to require a “good faith” (i.e.,



                                     47
        Case 22-2101, Document 895, 06/09/2023, 3527644, Page63 of 95




“honest”) valuation of the company’s assets, and so concluded that a

fraudulent valuation was not binding. SPA.428, SPA.430. Here, the

Articles explicitly provide that an NAV is “binding” only if “given in good

faith,” eliminating any doubt that a fraudulent NAV does not control.

JA.274; see Pls.Br.81-82.

     Defendants’ attempt to paint this case as governed by Migani

rather than Weavering II falls flat. To begin, Defendants’ assertion that

Migani considered “alleged misconduct” by an investment fund’s agent is

pure fiction.   Contra Defs.Br.54.        In fact, Weavering II expressly

“considers [Migani] distinguishable” because it did not consider such

allegations. SPA.429. Instead, the Privy Council explained, Migani

assumed that “the redemption liabilities were determined by the [Funds’]

directors in good faith, as the articles required.” SPA.429. Here, by

contrast, the allegations precisely mirror Weavering II: the NAVs “were

prepared on a fraudulent basis by the person to whom the directors had

given actual authority to carry out the valuations,” SPA.430, and not

prepared in good faith as the court assumed in Migani.

     Defendants’ assertion that the fraudulent NAVs in Weavering II

were “binding on the company” and “voidable [only] at the option of [an]



                                     48
         Case 22-2101, Document 895, 06/09/2023, 3527644, Page64 of 95




innocent defendant-shareholder,” Defs.Br.55-56, is also incorrect.

Defendants base that assertion on the Privy Council’s statement that the

fraudulently inflated redemptions “became a liability of the company” on

the redemption day. Defs.Br.55 (quoting SPA.434). That statement,

however, merely reflects the Privy Council’s view that the redemptions

were “voidable” rather than void ab initio—i.e., that “it would be

necessary for a party who wished to have the NAV avoided to bring

proceedings to do so.”     SPA.431.     While the Privy Council assumed

(consistent with the limited record before it) that such proceedings would

normally be brought by a defrauded shareholder, its holding that a

fraudulent NAV “is not binding by reason of fraud” is not limited to

shareholder suits. SPA.431.

     Defendants contend that the principles of “finality, certainty, and

workability” that motivated Migani should control “even in cases

where—as here—liquidators allege misconduct or illegality.” Defs.Br.56

(citing In re Fairfield Sentry Ltd. (Fairfield II), 596 B.R. 275, 295 (Bankr.

S.D.N.Y. 2018). But Weavering II addressed this point as well, explaining

that the interest in finality that controls when NAVs are rendered in good

faith “must yield” where NAVs are fraudulent. SPA.430. By contrast,



                                      49
        Case 22-2101, Document 895, 06/09/2023, 3527644, Page65 of 95




the sole case that Defendants cite to claim that finality should control did

not consider any allegations of deliberate fraud.          See DD Growth

Premium 2X Fund v. RMF Mkt. Neutral Strategies (Master) Ltd., [2017]

UKPC 36 ¶¶4, 58, 63 (considering payments that were “due to [the

shareholder] under lawful transactions” but ran afoul of Cayman Islands

corporate-solvency test). And the BVI courts have likewise refused to

read Migani as foreclosing the Liquidators’ claims of deliberate fraud,

denying an application by certain Defendants under §273 of the BVI

Insolvency Act to prevent the Liquidators from pursuing these claims on

that basis. See JA.230. 11

     Finally, Defendants claim that it would require “imply[ing] a

contractual term,” “re-writing the Articles,” and “import[ing] an

unwritten contractual term” to conclude that a fraudulent NAV is not

binding. Defs.Br.57-59. But the Articles explicitly provide that only

NAVs “given in good faith … shall be binding,” JA.274, which

unmistakably means that NAVs given in bad faith are not binding. See


11 Defendants briefly assert that Weavering II “did not address BVI law”
because it arose “under Cayman Islands law,” Defs.Br.55-56, but the
Privy Council’s articulation of English common law principles is fully ap-
plicable in either context. See SPA.158 (applicable principles of BVI law
“[i]n every relevant respect … are the same as those of English law”).

                                     50
          Case 22-2101, Document 895, 06/09/2023, 3527644, Page66 of 95




Pls.Br.89-91. And whatever the merits of Defendants’ claim that an

issuing fund cannot “rely on its own misconduct to void NAVs to the

detriment of shareholders,” Defs.Br.57, that concern is not remotely

implicated here, where the Liquidators are seeking to recover

fraudulently inflated payments (based on Citco’s fraud) for the benefit of

defrauded investors. Here as in Weavering II, the Liquidators’ claims

seek not to “benefit the [c]ompany, since in the winding up it has no

beneficial interest in its assets,” but to “undo[] the unfair advantage

which [Defendants] obtained at [other investors’] expense.” SPA.448.

Barring those claims would leave the innocent shareholders whose

investments funded Defendants’ inflated returns with no practical way

of voiding the fraudulent NAVs that injured them, a result that would

turn both the Articles and BVI law on their heads.

     2.    Defendants briefly assert that the Liquidators’ claims are

“independently bar[red]” because Defendants purportedly exchanged

“good consideration” (i.e., their shares in the Funds) for the redemption

payments. See Defs.Br.63-64. That argument is neither independent nor

meritorious.    Instead, as Migani explained, whether the NAVs are

binding and whether good consideration was provided “are closely related



                                       51
        Case 22-2101, Document 895, 06/09/2023, 3527644, Page67 of 95




and have to be considered together.” SPA.153. 12 Because Migani held

that NAVs rendered in good faith were binding, it dismissed the

liquidators’ cross-appeal on the good-consideration issue. See SPA.162.

Here, because the fraudulent NAVs are not binding, the Defendants also

failed to provide good consideration.

      That follows directly from the logic of Migani. As the Privy Council

observed there, and Defendants conceded below, the doctrine of good

consideration does not bar recovery of a payment that “exceeds the debt

properly due.” SPA.158; see Reply at 22, Fairfield Sentry Ltd. v. Citibank

NA London, No. 19-cv-03911 (S.D.N.Y. Apr. 23, 2020), Dkt.361 (“Citibank

Reply”). It is undisputed that if the fraudulent NAVs are not binding,

then the Funds owed Defendants only the true value of their nearly

worthless shares—far less than the Funds paid. Citibank Reply at 24;

see JA.1751.10 (Moss Decl. ¶17). As such, if the NAVs are not binding,

the doctrine of good consideration does not bar recovery of the amounts




12For that very reason, Migani did not leave the lower court’s decision on
the good-consideration issue “intact” and “binding.” Contra Defs.Br.64;
see, e.g., Graham Virgo, Good Consideration Provided by the Defendant,
The Principles of the Law of Restitution 190 (3d ed. 2015) (confirming
that Migani affirmatively decided the good-consideration issue).

                                     52
        Case 22-2101, Document 895, 06/09/2023, 3527644, Page68 of 95




by which the Funds’ payments were fraudulently inflated. That doctrine

thus poses no independent hurdle for the Liquidators’ claims.

     3. Defendants (like the district court) assert that the Liquidators’

common law claims are barred by §31(1)(e) of the BVI Companies Act.

Defs.Br.50-53. That argument has already been rejected by BVI courts

and misunderstands BVI law. Pls.Br.82-86.

     That is the lesson of ABN AMRO Fund Servs. (Isle of Man) 24

Nominees Ltd. v. Krys, where a number of BVI Defendants unsuccessfully

advanced the same argument—that §31(1)(e) bars the Liquidators’

claims—before the Eastern Caribbean Court of Appeals (“ECCA”).

Pls.Br.83. Defendants do their best to run from that case, claiming that

the ECCA “never addressed Section 31” and so its decision is irrelevant.

Defs.Br.50-51. But the ECCA explained that it had “considered the

arguments put forward by both sides,” including Defendants’ §31(1)(e)

argument, and rejected Defendants’ position that this argument made

the Liquidators’ claims somehow “hopeless” or “doomed to fail.” SPA.91;

see SPA.82 (acknowledging §31(1)(e) argument). The fact that the ECCA

saw no need to discuss §31(1)(e) in more detail only confirms that it

considered the argument meritless. That is hardly surprising, since—as



                                     53
        Case 22-2101, Document 895, 06/09/2023, 3527644, Page69 of 95




Defendants tacitly concede—no BVI court has ever applied §31(1)(e) to

analogous claims. Pls.Br.83.

     Defendants’ interpretation of §31(1)(e) is also wrong. By its terms,

that statute only prohibits a company from asserting that documents

issued “with actual or usual authority” are “not valid or not genuine.”

SPA.286. That does not bar the Liquidators’ claims, as the Liquidators

do not argue that the certificates here were not valid or not genuine; they

argue only that the certificates were not “given in good faith,” as the

Articles require to make them binding. JA.272.

     Defendants would read §31(1)(e) far more expansively, to prohibit

a company from raising any challenge to the binding force of any

document its agent issues. Defs.Br.51-52. Defendants cite no authority

for that interpretation, and for good reason: because the context makes

clear that §31(1)(e) uses “valid” to mean “executed with the proper legal

authority and formalities,” not binding under all circumstances. See

Valid, Merriam-Webster Dictionary, https://archive.ph/wip/1S34U (last

visited June 9, 2023).     That understanding accords with the other

subparagraphs of §31(1), which likewise preclude a company from

holding a person out as its representative and then challenging that



                                     54
        Case 22-2101, Document 895, 06/09/2023, 3527644, Page70 of 95




person’s “authority to exercise a power” that such a representative would

customarily have. BVI Companies Act §31(1)(b)-(d), SPA.286. Section

31(1)(e) similarly forbids a company from having its representative issue

a document and then questioning whether the document was executed

with the proper authority and formalities; it does not mean that the

document “is to be treated as conclusive so as to preclude recovery of sums

that would otherwise be recoverable” under contract or common law.

JA.1751.39-40 (Moss Decl. ¶¶78-79).

     Defendants’ interpretation—reading “valid” in §31(1)(e) to mean

“legally binding,” Defs.Br.51-52—also conflicts with the rest of the BVI

Companies Act, which routinely uses the term “valid” alongside the term

“binding” and thereby confirms that the two are not synonymous.

Pls.Br.84. Defendants claim that “binding” is needed in those other

provisions “to make clear who is bound,” but have no explanation for why

a synonymous (and in Defendants’ view, superfluous) “valid” would be

needed as well. Contra Defs.Br.52. Nor is “valid and binding” merely a

“redundant doublet,” as evidenced by the numerous provisions of the Act

that use one term but not the other. Contra Defs.Br.52 n.24.




                                     55
        Case 22-2101, Document 895, 06/09/2023, 3527644, Page71 of 95




     Unlike Defendants’ reading, the Liquidators’ interpretation of

§31(1)(e) harmonizes the provision with not only the rest of §31(1) and

the BVI Companies Act, but also the common law “indoor management

rule” that all agree the statute codifies. See Defs.Br.53 (acknowledging

§31’s origin in the indoor management rule). That common law rule

allows parties doing business with a corporation to assume that corporate

representatives possess the authority that they would customarily

possess. See Pls.Br.85-86. The Liquidators’ reading of §31(1)(e) accords

with that rule, applying the same principle to documents issued by those

corporate representatives.     Defendants’ reading, by contrast, would

dramatically expand that rule, precluding companies from raising any

challenge on any grounds to the legal force of any document their agents

issue. Defs.Br.53. Defendants provide no reason to believe that §31(1)(e)

was intended to work that massive change in the law.

     Finally, Defendants have no answer to the absurd results their

reading would cause. Under Defendants’ interpretation, every document

issued by a corporate agent—including those issued by mistake or by a

rogue agent acting in bad faith—would be conclusive and binding on the

company, even where a contractual or common law remedy would



                                     56
        Case 22-2101, Document 895, 06/09/2023, 3527644, Page72 of 95




otherwise be available.     See Pls.Br.84-85.      Defendants respond by

quibbling with the details of the Liquidators’ mistaken-bank-statement

hypothetical, Defs.Br.52-53, but entirely miss the point. Whether the

documents at issue are bank statements, stock certificates, contracts, or

anything else, §31(1)(e) simply cannot be read to preclude companies

from any challenge to the binding force of documents issued by their

agents, especially challenges that have nothing to do with whether those

documents are valid or genuine. 13

     4. Defendants (again, like the district court) also err in relying on

the BVI common law doctrine of ex turpi, which generally prevents

plaintiffs from bringing a cause of action based on their own illegal or

immoral acts. Pls.Br.86-89; see Defs.Br.60-63.

     Defendants begin by conflating ex turpi with the New York doctrine

of in pari delicto. Defs.Br.60. While those doctrines may be “related,”

Defs.Br.60, their application is clearly distinct. Pls.Br.88-89. Under New




13 Defendants’ quibbles also go nowhere. The principle that banks may
rectify mistakes within a reasonable time is just the kind of common law
rule that Defendants claim §31(1)(e) is supposed to displace, see
Defs.Br.53, and a bank customer’s knowledge of her balance would be
irrelevant unless the customer knew the mistaken statement was “not
valid or not genuine,” SPA.286.

                                     57
         Case 22-2101, Document 895, 06/09/2023, 3527644, Page73 of 95




York law, the in pari delicto doctrine is both “strong” and “inflexible”; it

“applies even in difficult cases” and is not to be “weakened by exceptions.”

Kirschner v. KPMG LLP, 938 N.E.2d 941, 950 (N.Y. 2010). By contrast,

ex turpi is a “flexible” doctrine that applies only where “the public interest

would be harmed” if a claim “tainted by illegality” were allowed to

proceed. SPA.215, 218-19, 221 (Patel v. Mirza, [2016] UKSC 42 ¶¶101,

109, 113, 120); see also Lincoln Caylor & Martin S. Kenney, In Pari

Delicto and Ex Turpi Causa, 18 BUS. L. INT’L 259, 268 (2017) (noting

“stark contrast” between Anglo-Canadian ex turpi jurisprudence and

New York’s in pari delicto jurisprudence); JA.1751.53 (Moss Decl. ¶101)

(similar).

      Defendants’ ex turpi argument fails at the threshold, because (as

Defendants apparently recognize) the Liquidators have never engaged in

any “illegal or immoral acts” that would trigger it—and under BVI law,

the Liquidators are not charged with Citco’s alleged fraud.              Contra

Defs.Br.61. To be sure, under New York law, “[t]he debtor’s misconduct

is [generally] imputed to the trustee because, innocent as he may be, he

acts as the debtor’s representative.” In re Bernard L. Madoff Inv. Sec.

LLC, 721 F.3d 54, 63 (2d Cir. 2013); accord Caylor & Kenney, supra, at



                                      58
        Case 22-2101, Document 895, 06/09/2023, 3527644, Page74 of 95




268 (discussing the interaction between New York’s rigid in pari delicto

doctrine and its “extremely broad application of corporate imputation,”

including in bankruptcy proceedings).        BVI courts, however, take a

different approach. As the Privy Council explained in Weavering II, “[t]he

fact that the directing mind of the Company was guilty of a fraud does

not render illegal the liquidators’ attempts to recover payments made

unlawfully in the lead up to the insolvency.” SPA.461 ¶124. Defendants

have no response to this on-point analysis from the BVI’s highest judicial

authority—and tellingly, they do not cite a single BVI case imputing a

corporate agent’s wrongdoing to the corporation’s liquidators.          See

Defs.Br.61-62.

     Defendants also fail to identify any way in which the Liquidators

have benefited from Citco’s alleged misconduct. Contra Defs.Br.61-62.

Defendants’ submission that “the Funds benefitted from [Citco’s]

certification of the NAVs” because the NAVs were “necessary for the

Funds’ operation,” Defs.Br.62, is beside the point: it does not show that

the Funds benefited from the fraudulent nature of the certifications, let

alone that the Liquidators benefited from Citco’s actions in any way. See

Pls.Br.86. In fact, Citco’s fraud benefited Defendants, allowing them to



                                     59
        Case 22-2101, Document 895, 06/09/2023, 3527644, Page75 of 95




receive inflated redemption payments at the expense of innocent

shareholders. See JA.1751.46-47 (Moss Decl. ¶91(c)-(e)); accord SPA.448

(Weavering II). Again, Defendants have no response, other than cases

applying inapposite principles of New York law. See Defs.Br.62.

     Defendants’ treatment of the public interest fares no better. Contra

Defs.Br.62-63.   Notably, Defendants utterly fail to engage with the

British and BVI common law cases and legal principles discussed in the

Liquidators’ opening brief. Compare Pls.Br.86, 88 & n.15 (discussing

multiple BVI and U.K. Supreme Court cases), with Defs.Br.61-63

(ignoring them). The only such case Defendants mention is Weavering

II, which squarely contravenes their position: contrary to Defendants’

description, the case recognizes that “the public interest” favors

liquidators’ efforts to “protect[] creditors as a class” over redeemers’

efforts to hold onto fraudulently inflated payments. See SPA.448 ¶80;

SPA.457-58 ¶111; SPA.461 ¶124. Defendants also suggest that “[u]nder

the liquidators’ logic, ex turpi causa could never bar liquidators’ claims.”

Defs.Br.62. But Defendants have not identified a single BVI case that

has applied ex turpi to bar a liquidator’s claim—and they come nowhere

close to demonstrating that this case should be the first to do so,



                                     60
        Case 22-2101, Document 895, 06/09/2023, 3527644, Page76 of 95




especially when the parties here contracted around the ex turpi doctrine

in any event. Pls.Br.89; contra Defs.Br.63.

IV.   The Bankruptcy Court Erred In Ruling That The
      Liquidators Failed To State A Claim Under §246 Of The BVI
      Insolvency Act.

      The bankruptcy court also erred in dismissing the Liquidators’

claims under §246 of the BVI Insolvency Act, an issue that the district

court did not address. See Pls.Br.71-74. As relevant here, §246 allows a

liquidator to avoid a transaction if it is “undervalue,” meaning that the

transferor received “significantly less” in exchange for the value it

transferred. BVI Insolvency Act §246(1)(b). The Liquidators plainly

stated a claim under that standard: they alleged that the Funds made

fraudulently inflated payments to Defendants in exchange for near-

worthless shares. See Fairfield II, 596 B.R. at 303 (noting that “the true

value of the Funds’ assets and the shares were nil”). The bankruptcy

court nevertheless dismissed the Liquidators’ §246 claims, holding that

those claims could only proceed if the Liquidators pleaded that each

Defendant “had reason to believe that the NAVs were inflated,” id. at

305—a brand-new scienter requirement that has no basis in the

statutory text and that defies BVI law. See Pls.Br.92-94.



                                     61
        Case 22-2101, Document 895, 06/09/2023, 3527644, Page77 of 95




     Defendants make no attempt to defend the bankruptcy court’s

judicially invented scienter requirement based on the text of §246. See

Defs.Br.71-74. Instead, Defendants swing for the fences, arguing that

their redemption payments were “definitionally not ‘undervalue’”

because their shares “at the time of the transactions” were worth the full

amount that Defendants received. Defs.Br.72; see Defs.Br.73-74

(claiming that “even in hindsight,” the redemption payments “were not

undervalued”).   That argument quite literally ignores reality.         It is

undisputed that the actual value of Defendants’ shares at the time of

redemption—given the Madoff Ponzi scheme—was next to nothing. See

Pls.Br.16-17. That makes the redemption transactions “undervalue,”

even assuming Defendants (like the Funds) were unaware that their

shares were actually worthless.

     To avoid that outcome, Defendants claim that the BVI courts assess

value under §246 “at the time of the transfer, not with the benefit of

hindsight,” and consider only “the information that was reasonably

available to an objective observer” at the time of the transfer.         See

Defs.Br.72-73.   But Defendants do not identify a single BVI case

articulating that purported “rule,” relying instead on two paragraphs of



                                     62
        Case 22-2101, Document 895, 06/09/2023, 3527644, Page78 of 95




their expert’s declaration. Defs.Br.72 (citing JA.1332, 1357). One of

those paragraphs baldly asserts, without citation, that “[t]he BVI Court”

assesses transactions “without intrusion of hindsight.” JA.1332. The

second paragraph cites a single English case, see JA.1357 n.218 (citing

Joiner v. George, [2003] BCC 298 ¶¶68, 70), but that case did not

interpret the English analog of §246, or even arise in the context of

insolvency law; instead, it involved an alleged breach of a contractual

warranty for a sale of shares.      See JA.1751.100 (Moss Decl. ¶209).

Defendants’ unelaborated reference to Joiner comes nowhere near

establishing that BVI law broadly forbids courts from assessing a

transaction under §246 with the benefit of hindsight. Contra Defs.Br.72.

     The key decision is instead Phillips v. Brewin Dolphin Bell Lawrie,

[2001] BCC 864 (HL), which did address the English analog of §246—and

held that under that statute, “reality should … be given precedence over

speculation,” and “ex post facto events” should “be taken into account.”

Id. ¶26; see Pls.Br.93. That decision expresses the governing rule, not a

“narrow exception” to that rule.     Contra Defs.Br.72; see JA.1751.100

(Moss Decl. ¶209) (Phillips “held that hindsight can be used in the

context of insolvency law transaction avoidance”).          And nothing in



                                     63
         Case 22-2101, Document 895, 06/09/2023, 3527644, Page79 of 95




Phillips adopts Defendants’ rule that hindsight is relevant only where

the value of the asset is known “at the time” to be “uncertain” or

“precarious”—a rule that, notably, Defendants again cite only to their

expert, not anything in Phillips itself. Contra Defs.Br.72-73 (citing only

JA.1358). 14

     In short, Defendants provide no good reason to ignore the simple

reality that the Funds paid them vastly more than their shares were

worth, making the redemption transactions grossly “undervalue” under

§246. And Defendants certainly provide no good reason for adopting the

bankruptcy court’s invented scienter requirement, which has no basis

either in the text of §246 or BVI law. Here as in Phillips, it would be

“unsatisfactory and unnecessary for the court to wear blinkers” by

conducting the §246 inquiry while ignoring the reality of the transaction

at issue. [2001] BCC 864 ¶26; contra Defs.Br.72-73. 15 The Liquidators’

claims under §246 should be reinstated.



14Phillips also acknowledges that rules about the use of hindsight “may
not be uniform” in “different areas of the law,” [2001] BCC 864 ¶26, ex-
plaining any difference between Phillips and Joiner.
15Defendants also briefly assert that the payments they received were
not undervalued because tendering their shares made them “creditors of


                                      64
          Case 22-2101, Document 895, 06/09/2023, 3527644, Page80 of 95




V.   The Liquidators’ Claims Are Not Precluded By The Prior
     BVI Proceedings.

     Defendants’ argument that Migani precludes the Liquidators’

common law claims, which they relegate to the end of their challenge to

those claims (and then repeat in a supplemental brief), likewise goes

nowhere. Defs.Br.65-71; BVI.Defs.Supp.Br.6-14. As the courts below

correctly held, Migani has no preclusive effect on this litigation, because

the relevant issues were not (and could not have been) raised or decided

in that suit. SPA.40-43.

     A.     BVI Law Governs the Preclusion Issue Here.

     Defendants begin by arguing that federal law rather than BVI law

governs the preclusive effect of the BVI judgment in Migani on the

Liquidators’    BVI    common      law    claims.     Contra    Defs.Br.66-67;

BVI.Defs.Supp.Br.6-9. This Court, however, has repeatedly held that

bankruptcy courts, like district courts sitting in diversity, must normally

follow the choice-of-law rules of their forum state. See, e.g., In re Coudert

Bros. LLP, 673 F.3d 180, 187-88 (2d Cir. 2012); In re Gaston & Snow, 243



the Funds in an amount established by the Funds’ NAVs.” Defs.Br.73-
74. That is just a repackaged version of Defendants’ argument that the
fraudulent NAVs were binding, and fails for the same reasons. Supra
pp.46-51.

                                         65
         Case 22-2101, Document 895, 06/09/2023, 3527644, Page81 of 95




F.3d 599, 606-07 (2d Cir. 2001). Under New York choice-of-law rules, a

foreign judgment’s preclusive effect is governed by the law of the issuing

jurisdiction—here, the BVI.       See Kim v. Co-op. Centrale Raiffeisen-

Boerenleebank B.A., 364 F.Supp.2d 346, 349 (S.D.N.Y. 2005). BVI law

rather than federal common law therefore controls here.

     Defendants argue that in “non-diversity cases,” federal courts

“apply   their   own    rule”   to   decide   preclusion.      Defs.Br.66-67;

BVI.Defs.Supp.Br.6-8. But none of the cases they cite for that principle

are bankruptcy cases—and in the bankruptcy context, this Court has

held the opposite, explicitly “reject[ing]” the argument that federal law

should apply just because “bankruptcy is a form of federal question

jurisdiction.” Coudert, 673 F.3d at 188 (citing Gaston & Snow, 243 F.3d

at 605-06).   Defendants attempt to distinguish Coudert as involving

choice-of-law for state-law claims “originally brought in state court.”

Defs.Br.67 n.28; see BVI.Defs.Supp.Br.8. But Coudert applied Gaston &

Snow, which broadly held that bankruptcy courts “should apply the

choice of law rules of the forum state” rather than creating federal

common law. Gaston & Snow, 243 F.3d at 601-02. Applying that rule

here also respects the international comity concerns of Chapter 15, by



                                      66
          Case 22-2101, Document 895, 06/09/2023, 3527644, Page82 of 95




allowing BVI law (under New York choice-of-law rules) to govern the

preclusive effect of a BVI judgment on BVI claims. The district court

correctly held that BVI law governs.

     B.      Under BVI Law, There Is No Preclusion Here.

     Apparently realizing the weakness of their choice-of-law position,

Defendants try to argue that even under BVI law, Migani would preclude

the Liquidators’ claims. Defs.Br.70-71; BVI.Defs.Supp.Br.9 n.6. That

argument is both forfeited and meritless.

     As Defendants recognize, their only argument to the district court

under BVI preclusion law was a “one-line footnote” conclusorily asserting

that the Liquidators’ claims were precluded by “BVI doctrines of issue

estoppel.”   SPA.42 n.34; see Defs.Br.69 (citing footnote below).         The

district court correctly found that argument was “not properly briefed,”

and so deemed it forfeited and declined to address it. SPA.42 & n.34.

This Court should do the same. See, e.g., United States v. Quinones, 317

F.3d 86, 90 (2d Cir. 2003) (“argument mentioned only in a footnote” is not

“adequately raised or preserved for appellate review”).16



16Defendants also claim they “did not waive the preclusion issue by ar-
guing it under the purportedly wrong law.” Defs.Br.70. But preclusion


                                       67
         Case 22-2101, Document 895, 06/09/2023, 3527644, Page83 of 95




     In any event, Defendants’ forfeited argument is also meritless. To

begin, BVI issue estoppel is “more restrictive” than its U.S. counterpart,

because “it requires mutuality—either the same parties or their privies.”

Fairfield II, 596 B.R. at 292 (citing OJSC Oil Co. Yugraneft v.

Abramovich, [2008] EWHC 2613 (Comm) ¶396); see JA.1751.18. It is

thus “absolutely plain” that any Defendant who was not a party or privy

to Migani—that is, anyone but the BVI Defendants—has “no prospect of

success” under BVI issue estoppel. JA.1751.23; see JA.1751.23-26; contra

Defs.Br.70-71. 17

     And there is no BVI issue estoppel here anyway. Under BVI law,

“[i]n order for there to be an issue estoppel,” an issue “decided in the

former case … must be the same as the issue in the later case and must

have been necessary for the earlier decision.” Fairfield II, 596 B.R. at

292 (quoting OJSC, [2008] EWHC 2613 ¶396).               That is, BVI issue

estoppel is only available where the issue was actually “litigated and


under federal and BVI law is distinct—as Defendants recognize by now
trying to argue both, see Defs.Br.67-71—and Defendants’ arguments be-
low under the former do not preserve the latter.
17Defendants’ assertion that BVI preclusion law “does not impose a strict
privity requirement,” Defs.Br.70, simply “mis-state[s] or misun-
derst[ands] the law,” JA.1751.5; see JA.1751.13-18 (Moss Decl. ¶¶26-32,
36) (refuting Defendants’ authorities).

                                      68
         Case 22-2101, Document 895, 06/09/2023, 3527644, Page84 of 95




decided” in the prior action. Id.; see JA.1751.18. Here, Defendants do

not dispute that the issue presented in these cases—whether the

Liquidators can recover fraudulently inflated payments based on NAVs

issued in bad faith—was never raised or decided in Migani. See

Weavering II, SPA.429 ¶24 (Migani “did not address” issues involving

“fraudulently inflated” NAVs). BVI issue estoppel therefore does not

apply.

      Defendants’ only response is to claim, citing their expert, that BVI

issue estoppel applies even to points “not raised in the earlier proceeding”

if those points “could with reasonable diligence … have been raised.”

Defs.Br.70; see JA.1284 (quoting Virgin Atl. Airways Ltd v. Zodiac Seats

UK Ltd., [2013] UKSC 46 ¶22)).               But as the bankruptcy court

understood—and even         the   BVI      Defendants’   supplemental    brief

recognizes, see BVI.Defs.Supp.Br.9 n.6—the passage Defendants cite

uses “issue estoppel” to refer to “[t]he English form of claim preclusion,”

Fairfield II, 596 B.R. at 291, which Defendants never raised at all in the

district court.

      And even if Defendants had preserved that claim preclusion

argument, it would fail, because Citco’s fraud could not “with reasonable



                                      69
         Case 22-2101, Document 895, 06/09/2023, 3527644, Page85 of 95




diligence … have been raised” in Migani. Virgin Atl., [2013] UKSC 46

¶22.    As the district court explained (and Defendants ignore), the

Liquidators “could not have raised the issue of Citco’s bad faith” in

Migani because “they only became aware of the evidence they now allege

in 2014.” SPA.42 n.35; see JA.483 ¶5; see Pls.Br.25-26. Defendants’

assertion that the Liquidators were “well aware of the facts that they now

allege,” and consciously “chose not to” assert them in Migani, is simply

false. Contra Defs.Br.68-69, 71. 18

       Defendants conclude by devoting all of two sentences to the BVI

Henderson doctrine, claiming it broadly bars raising any “issue which

could have been raised before.” Defs.Br.71. But only in a “rare case” will

Henderson apply to “an issue which has not previously been decided

between the same parties or their privies,” Fairfield II, 596 B.R. at 294—

and as both courts below concluded, this is not that rare case, especially

because the Liquidators could not have raised Citco’s fraud in Migani.

SPA.42-43 n.35; Fairfield II, 596 B.R. at 294-95.




18Notably, the district court specifically rejected Defendants’ reliance on
the Liquidators’ involvement in Anwar v. Fairfield Greenwich, Ltd., 728
F.Supp.2d 372 (S.D.N.Y. 2010), explaining that Anwar did not include
the “very specific” allegations of fraud here. SPA.43 n.35.

                                      70
          Case 22-2101, Document 895, 06/09/2023, 3527644, Page86 of 95




     C.     Even Under Federal Law, There Would Be No Preclu-
            sion.

     Even if federal common law rather than BVI law governed the

preclusion question here, Defendants’ arguments would still fail.

Defendants abandon the collateral estoppel (i.e., issue preclusion)

arguments on which they relied below, see SPA.40; instead, they now

assert only res judicata (i.e., claim preclusion). See Defs.Br.67-69. But

Defendants never argued res judicata before the district court as to

anyone but the BVI Defendants, see SPA.40, making their argument

waived as to all other Defendants, see, e.g., Doe v. Trump Corp., 6 F.4th

400, 410 (2d Cir. 2021) (party “must present the relevant legal arguments

in [district court] to preserve them for appellate review”).

     Defendants’ res judicata arguments are also meritless. As to all

Defendants other than the BVI Defendants, res judicata is not available

because they are neither parties to Migani nor in privity with those

parties. See, e.g., Cho v. Blackberry Ltd., 991 F.3d 155, 168-70 (2d Cir.

2021) (discussing privity requirement).         Defendants’ suggestion that

privity reaches anyone with the same “incentives” takes the language

they quote wildly out of context, see Chase Manhattan Bank, N.A. v.

Celotex Corp., 56 F.3d 343, 346 (2d Cir. 1995) (holding that two owners


                                       71
        Case 22-2101, Document 895, 06/09/2023, 3527644, Page87 of 95




of the same building were not in privity), and would make Migani binding

even on Defendants who had no involvement in that case—a rule

Defendants would surely reject if Migani had gone the other way. Contra

Defs.Br.68-69.   The mere fact that each Defendant independently

engaged in similar transactions with the same Funds comes nowhere

near establishing a “sufficiently close relationship” for privity. Cho, 991

F.3d at 169.

     In any event, as Defendants acknowledge, res judicata is only

available when the later claims “were, or could have been, raised in the

prior action.” Defs.Br.67; BVI.Defs.Supp.Br.10. It is undisputed that the

claims here were not raised in Migani, and the district court correctly

determined that the Liquidators “could not have raised” these claims in

Migani because they “only became aware of the evidence they now allege

[showing Citco’s bad faith] in 2014.” SPA.42 n.35; see supra pp.69-70.

Defendants make no attempt to show clear error in that factual finding,

and once again, they have nothing to support their flatly incorrect

assertion that the Liquidators were “well aware” of the relevant facts but




                                     72
        Case 22-2101, Document 895, 06/09/2023, 3527644, Page88 of 95




“strategically chose” not to assert them earlier. Contra Defs.Br.68-69; see

SPA.42-43 n.35 (rejecting Defendants’ reliance on Anwar). 19

VI.   DB Cayman Cannot Evade Liability By Claiming That It Was
      Acting As A Disclosed Agent.

      In a separate brief joined by no other party, Defendant Deutsche

Bank (Cayman) Limited (“DB Cayman”) seeks dismissal of all the

Liquidators’ claims against it on the ground that it “was acting at all

times as an agent for disclosed principals.” DBC.Br.1. Under either BVI

law or New York law, this defense fails.

      1. Both the district court and the bankruptcy court held (and no

party disputes) that New York law governs the parties’ Subscription

Agreements with the Funds. See SPA.18. DB Cayman asserts that New

York law also applies to its agency defense, on the ground that the

Subscription Agreements “control” or “govern” its relationship with

Fairfield Sentry. DBC.Br.3, 6-7. The relevant question here, however, is



19 On top of all that, the claims here do not target the same payments at
issue in Migani, and so do not involve the same “transaction or series of
transactions.” Fairfield II, 596 B.R. at 291-92; see, e.g., In re M. Fabri-
kant & Sons, Inc., 447 B.R. 170, 182 (Bankr. S.D.N.Y. 2011) (avoidance
claims targeting separate transfers are treated as separate claims); con-
tra BVI.Defs.Supp.Br.10-14. For the same reason, the claims “may in-
volve different evidence relating to Citco’s bad faith.” Fairfield II, 596
B.R. at 292; contra BVI.Defs.Supp.Br.11, 13.

                                     73
         Case 22-2101, Document 895, 06/09/2023, 3527644, Page89 of 95




what law gives rise to the Liquidators’ claims.            See, e.g., Liberty

Synergistics Inc. v. Microflo Ltd., 718 F.3d 138, 155 n.19 (2d Cir. 2013)

(“As a general matter, the substantive immunities and defenses available

against a particular cause of action are governed by the same source of

law that provides the cause of action.”). As both the district court and

the bankruptcy court held, all the Liquidators’ claims arise under BVI

law, see SPA.42, and the parties agree that BVI law governs other

substantive defenses in the case, see Pls.Br.86-89; Defs.Br.60, 64-65. DB

Cayman has no explanation for why its agency defense should be

different.

      DB Cayman also effectively concedes that if BVI law applies, its

agency defense must fail. It musters only two sentences asserting that

“[t]he doctrine of ministerial receipt” bars the Liquidators’ actions.

DBC.Br.7. That doctrine, however, applies only where “the ‘real’ parties

to the transaction … are the payer and the recipient’s principal.”

JA.1751.67 (Moss Decl. ¶125(c) (citing Montgomerie v UK Mutual

Steamship Ass’n, [1891] 1 QB 370)). Here, under the Articles—by which

DB Cayman expressly agreed to be bound, see SPA.154 ¶9; JA.2189

(Subscription Agreement §§1-2)—the Fund was explicitly authorized “to



                                      74
        Case 22-2101, Document 895, 06/09/2023, 3527644, Page90 of 95




treat the registered holder of any share,” including DB Cayman, as

“absolute owner thereof,” relieving the Fund of any obligation “to

recognise any equitable or other claim to, or interest in, such share on

the part of any other person.” JA.269; see DBC.Br.6-7 (conceding as

much). As a result, DB Cayman was the entity to be paid the proceeds

from any proper redemption of the shares, and the entity to which such

payments were made. See Am. Compl. at 8-9 (¶19), 63 (Ex. A), Fairfield

Sentry Ltd. v. Deutsche Bank (Cayman), No. 10-ap-03746 (SMB) (Bankr.

S.D.N.Y.), Dkt.32.    DB Cayman was thus the real party to those

transactions, regardless of any separate agreement it may have had with

its asserted principals. See JA.1751.67 (Moss Decl. ¶125(c)); see also

Weavering II, SPA.448-450 (rejecting the argument that a registered

shareholder held shares “as a bare trustee” as “neither here nor there”).

The “ministerial receipt” doctrine therefore does not apply.

     2. Even under New York law, DB Cayman’s defense would fare no

better, as New York law also permits an agent for a disclosed principal

to be held liable where there is “clear and explicit evidence of the agent’s

intention” to be bound. DBC.Br.3-4. DB Cayman asserts that it “did not

intend to be individually bound” by the Subscription Agreements, noting



                                     75
         Case 22-2101, Document 895, 06/09/2023, 3527644, Page91 of 95




that it signed the Agreements and registered the shares to “Deutsche

Bank (Cayman) Limited as Custodian for Sciens CFO” and “Custodian

for Sciens Global.”    DBC.Br.5-6.     But DB Cayman concedes that no

matter how it signed the agreements, it was “the registered holder” of the

shares. DBC.Br.6-7. DB Cayman accordingly agreed, under the Articles,

that the Fund could “treat [it] as the absolute owner” of the shares it held.

JA.269; accord DBC.Br.6-7 (acknowledging the Fund’s “right to deal only

with [DB Cayman]”). That is more than enough evidence to make DB

Cayman a proper defendant here. See, e.g., Am. Bureau of Shipping v.

Tencara Shipyard S.P.A., 170 F.3d 349, 353 (2d Cir. 1999) (purported

agent that acted “in part[] on its own behalf” was not exempt from

arbitration clause).   And that outcome makes perfect sense, as New

York’s “clear and explicit evidence” requirement is intended to protect

individuals, not to permit gamesmanship by multinational banks or their

subsidiaries. See Lerner v. Amalgamated Clothing and Textile Workers

Union, 938 F.2d 2, 5 (2d Cir. 1991) (seeking to protect “individual

stockholders or officers of the corporation” from “individual liability”).

The Court should give full effect to DB Cayman’s explicit contractual




                                      76
        Case 22-2101, Document 895, 06/09/2023, 3527644, Page92 of 95




consent to act as the shares’ “absolute owner” and thereby assume

liability under its agreement with the Fund.

                                  * * *

     Finally, it bears emphasis that the sum total of Defendants’

arguments and the rulings below are even less persuasive than their

constituent parts. The raison d’etre of Chapter 15 is to make U.S. courts

available to assist the efforts of foreign liquidators in a spirit of comity

and out of a concern for the interests of creditors of failed enterprises.

Defendants would turn Chapter 15 into a series of traps for the unwary

in which U.S. courts chauvinistically demand that foreign law conform to

U.S. norms and leave foreign liquidators with far less authority to avoid

even intentionally fraudulent transfers than their U.S. counterparts.

Thus, while the SIPC trustee has been able to make substantial

recoveries for innocent victims of Madoff’s fraud, the foreign liquidators

have been stymied at every turn. When BVI liquidation law gives foreign

liquidators broader avoidance powers, it is faulted for not having

intentional fraud as an element. When the foreign liquidators invoke

foreign law empowering them to recover for intentional fraud, they are

confronted with fanciful defenses or misreadings of governing law.



                                     77
         Case 22-2101, Document 895, 06/09/2023, 3527644, Page93 of 95




     All of this can be avoided by a proper application of the presumption

against extraterritoriality, or a proper reading of the text of §561(d), or a

proper reading of BVI contract and common law and related decisions.

But accepting all of Defendants’ arguments creates a dynamic where U.S.

courts directed to facilitate foreign bankruptcies will leave innocent

victims of Madoff’s fraud holding the bag while those who cashed out in

full based on the principal of their fellow investors emerge unscathed.

U.S. bankruptcy law does not allow that unjust result. BVI liquidation

and common law do not allow that unjust result. There is no reason that

U.S. courts operating under Chapter 15 to facilitate liquidations under

BVI law should allow that unjust result.

                              CONCLUSION

     This Court should reverse and remand.


  Dated: June 9, 2023                      Respectfully submitted,

                                           s/ Paul D. Clement
  DAVID J. MOLTON                          PAUL D. CLEMENT
  MAREK P. KRZYZOWSKI                      MATTHEW D. ROWEN
  BROWN RUDNICK LLP                        CLEMENT & MURPHY, PLLC
  Seven Times Square                       706 Duke Street
  New York, New York 10036                 Alexandria, Virginia 22314
  (212) 209-4800                           (202) 742-8900




                                      78
        Case 22-2101, Document 895, 06/09/2023, 3527644, Page94 of 95




                 CERTIFICATE OF COMPLIANCE
                WITH TYPE-VOLUME LIMITATION

     I hereby certify that:

     1. This brief complies with the type-volume limitation of this

Court’s November 23, 2022 Order because it contains 15,496 words,

excluding the parts of the brief exempted by Fed. R. App. P. 32(f), as

determined by the word counting feature of Microsoft Word 2016.

     2. This brief complies with the typeface requirements of Fed. R.

App. P. 32(a)(5) and the typestyle requirements of Fed. R. App. P.

32(a)(6) because it has been prepared in a proportionally spaced

typeface using Microsoft Word 2016 in 14-point font.

June 9, 2023

                                        s/Paul D. Clement
                                        Paul D. Clement
        Case 22-2101, Document 895, 06/09/2023, 3527644, Page95 of 95




                    CERTIFICATE OF SERVICE

     I hereby certify that on June 9, 2023, I electronically filed the

foregoing with the Clerk of the Court for the United States Court of

Appeals for the Second Circuit by using the CM/ECF system. I certify

that all participants in this case are registered CM/ECF users and that

service will be accomplished by the CM/ECF system.

June 9, 2023

                                        s/Paul D. Clement
                                        Paul D. Clement
